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   Attorneys for plaintiff Blackstone Hamilton
 8 individually and on behalf of others
   similarly situated
 9
10
                           UNITED STATES DISTRICT COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA
12
13 Blackstone Hamilton, individually and on ) Case No.
   behalf of others similarly situated,      ) 2:19−cv−08182−MEMF−AFM
14
                                             )
15              Plaintiff,                   ) CLASS ACTION
                                             )
16         v.                                ) [Assigned to Honorable Maame Ewusi-
17                                           ) Mensah Frimpong]
   Tarek El Moussa, an individual; Christina )
18 Anstead, an individual; Real Estate       ) NOTICE OF ERRATA RE JOINT
19 Elevated, LLC, a Nevada limited liability ) CASE MANAGEMENT
   company; Zurixx, LLC, a Utah limited      ) STATEMENT
20 liability company; and, DOES 1 through )
21 50, inclusive,                            )
                                             )
22              Defendants.                  )
                                             )
23
                                             )
24                                           )
25
26
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28                                               1
                                     NOTICE OF ERRATA
Case 2:19-cv-08182-MEMF-AFM Document 68 Filed 02/23/22 Page 2 of 87 Page ID #:542

 1          PLEASE TAKE NOTICE that Plaintiff Blackstone Hamilton (“Plaintiff”) hereby
 2 provides notice of errata and corrections as follows:
 3          On February 23, 2022, Plaintiff filed a Joint Case Management Statement. The
 4 Joint Case Management Statement should have included two exhibits, which due to a
 5 clerical oversight, were omitted. Plaintiff respectfully attaches, as Exhibit A to this
 6 Errata, the Exhibit 1 and Exhibit 2 which should have been included to the Joint Case
 7 Management Statement.
 8      Plaintiff’s counsel apologize to the Court and Defendants for any confusion arising
     out of this error.
 9
10
11
     DATED: February 23, 2022                Respectfully Submitted,
12
                                             MATERN LAW GROUP, PC
13
14
                                                /s/ Joshua D. Boxer
15                                          By: _____________________________
                                                MATTHEW J. MATERN
16                                              JOSHUA D. BOXER
                                                Attorneys for Plaintiff Blackstone,
17                                              individually and on behalf of others
                                                similarly situated
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                                       NOTICE OF ERRATA
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                          EXHIBIT A
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                      EXHIBIT 1
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                           UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


    FEDERAL TRADE COMMISSION, and
                                                          STIPULATED ORDER FOR
    UTAH DIVISION OF CONSUMER                             PERMANENT INJUNCTION AND
    PROTECTION,                                           MONET ARY JUDGMENT

                             Plaintiffs,                   Case No. 2:19-CV-00713-DAK-DAO

                       vs.                                District Judge Dale A. Kimball

    ZURIXX, LLC, et al.                                   Magistrate Judge Daphne A. Oberg
                              Defendants.




           Plaintiffs, the Federal Trade Commission ("Commission" or "FTC") and the Utah

   Division of Consumer Protection ("Division") (collectively "Plaintiffs"), filed their Complaint for

   Permanent Injunction and Other Equitable Relief, subsequently amended as Second Amended

   Complaint for Permanent Injunction and Other Equitable Relief, (as amended, "Complaint")

   pursuant to Sections 13(b) and 19 of the Federal Trade Commission Act ("FTC Act"), 15 U.S.C.

    §§ 53(b) and 57b, the Consumer Review Fairness Act ("CRFA"), 15 U.S.C. § 45b, the

   Telemarketing and Consumer Fraud and Abuse Prevention Act ("Telemarketing Act"), 15 U.S.C.

    §§ 6101-6108, the Telemarketing Sales Rule ("TSR"), 16 C.F.R. Part 310, the Utah Consumer

    Sales Practices Act ("UCSPA"), Utah Code § 13-11-1 et seq., the Business Opportunity

   Disclosure Act ("BODA"), Utah Code§ 13-15-1 et seq., and the Telephone Fraud Prevention Act

   ("TFPA"), Utah Code § 13-26-1 et seq. Plaintiffs and Defendants stipulate to the entry of this

    Stipulated Order for Permanent Injunction and Monetary Judgment ("Order") to resolve all


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    matters in dispute in this action between them.

            THEREFORE, IT IS ORDERED as follows:

                                                 FINDINGS

    1.      This Court has jurisdiction over this matter.

    2.      The Complaint alleges that Corporate Defendants and Individual Defendants participated

    in deceptive and unlawful acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C.

    § 45(a), the CRFA, 15 U.S.C. § 45, the Telemarketing Sales Rule ("TSR"), 16 C.F.R. Part 310,

    the UCSPA, Utah Code§ 13-11-1 et seq., the BODA, Utah Code§ 13-15-1 et seq., and the

    TFPA, Utah Code § 13-26-1 et seq., in the marketing and sale ofreal estate investment products

    and services. The Complaint further alleges that Relief Defendant was unjustly enriched when

    she received ill-gotten proceeds derived from the deceptive and unlawful acts or practices alleged

    in the Complaint.

    3.      Defendants neither admit nor deny any of the allegations in the Complaint, except as

    specifically stated in this Order. Only for purposes of this action, Defendants admit the facts

    necessary to establish jurisdiction.

    4.      Defendants waive any claim that they may have under the Equal Access to Justice Act, 28

    U.S.C. § 2412, concerning the prosecution of this action through the date of this Order, and agree

    to bear their own costs and attorney fees.

    5.      Defendants and Plaintiffs waive all rights to appeal or otherwise challenge or contest the

    validity of this Order.

                                              DEFINITIONS

            For the purpose of this Order, the following definitions apply:


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    A.     "Business Coaching Program" means any product or service, including any program or

    plan, that is represented, expressly or by implication, to train or teach a consumer how to

    establish, operate, or improve a business.

    B.     "Covered Communication" means a written, oral, or pictorial review, performance

    assessment, or other similar analysis of goods or services, including conduct related to the goods

    or services.

    C.     "Defendants" means all of the Individual Defendants, the Corporate Defendants, the

    Relief Defendant, the JSS Trustee Defendant individually, collectively, or in any combination.

            1.     "Corporate Defendants" means Zurixx, LLC, Brand Management Holdings,

           LLC, CAC Investment Ventures, LLC-Utah, CAC Investment Ventures, LLC-Puerto

           Rico, Carlson Development Group, LLC-Utah, Carlson Development Group, LLC-Puerto

           Rico, CJ Seminar Holdings, LLC, Dorado Marketing and Management, LLC, Zurixx

           Financial, LLC-Utah, Zurixx Financial, LLC-Puerto Rico, JSS Investment Ventures, LLC,

           JSS Trust, and their subsidiaries, successors and assigns.

           2.      "Individual Defendants" means Cristopher A. Cannon, James M. Carlson, and

            Jeffrey D. Spangler.

            3.     "Relief Defendant" means Stephenie J. Spangler.

            4.     "JSS Trustee Defendant" means Gerald D. Spangler, as Trustee for the JSS Trust.

    D.     "Document" is synonymous in meaning and equal in scope to the usage of "document"

    and "electronically stored infonnation" in Federal Rule of Civil Procedure 34(a), and includes

    writings, drawings, graphs, charts, photographs, sound and video recordings, images, Internet

    sites, web pages, websites, electronic correspondence, including e-mail and instant messages,


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   contracts, accounting data, advertisements, FTP Logs, Server Access Logs, books, written or

   printed records, handwritten notes, telephone logs, telephone scripts, receipt books, ledgers,

   personal and business canceled checks and check registers, bank statements, appointment books,

   computer records, customer or sales databases and any other electronically stored information,

   including Documents located on remote servers or cloud computing systems, and other data or

   data compilations from which infonnation can be obtained directly or, if necessary, after

   translation into a reasonably usable form. A draft or non-identical copy is a separate document

   within the meaning of the term.

   E.      "Earnings Claim" means any representation, specific or general, about income, revenues,

   financial gains, percentage gains, profit, net profit, gross profit, or return on investment.

   F.      "Person" means any natural person or any entity, corporation, partnership, or association

   of persons.

    G.     "Real Estate Coaching Program" means any product or service, including any program

   or plan, that is represented, expressly or by implication, to train or teach a consumer how to make

   money through investing in or buying and selling real estate.

   H.      "Receiver" means the equity receiver David Broadbent and any deputy receivers that shall

   be named by the Receiver.

   I.      "Review-Limiting Contract Term" means a standardized contract term that: prohibits or

   restricts the ability of a person who is a party to the contract to engage in a Covered

   Communication; imposes or threatens to impose a penalty or fee against a person who is a party

   to the contract for engaging in a Covered Communication; or transfers, or requires a person who

   is a party to the contract to transfer, to any other person any intellectual property rights in a


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    Covered Communication, with the exception of a non-exclusive license to lawfully use a Covered

    Communication about a Defendant's goods or services.

    J.     "Telemarketing" means any plan, program, or campaign which is conducted to induce

    the purchase of goods or services by use of one or more telephones, and which involves a

    telephone call, whether or not covered by the Telemarketing Sales Rule.

                                                   ORDER

    I.      BAN ON MARKETING OR SELLING REAL ESTATE COACHING PROGRAMS
                       AND BUSINESS COACIDNG PROGRAMS

           IT IS ORDERED that the Corporate Defendants and Individual Defendants are

    pennanently restrained and enjoined from advertising, marketing, distributing, promoting,

    offering for sale, or selling, or assisting in the advertising, marketing, distributing, promoting,

    offering for sale, or selling, of any Real Estate Coaching Program or any Business Coaching

    Program.

                      II. PROHIBITIONS REGARDING TELEMARKETING

           IT IS FURTHER ORDERED that the Corporate Defendants and Individual Defendants,

    their officers, agents, employees, attorneys, and all other Persons in active concert or participation

    with them, who receive actual notice of this Order by personal service or otherwise, whether

    acting directly or indirectly, in connection with Telemarketing of any goods or services are

    permanently restrained and enjoined from:

           A. misrepresenting risk, liquidity, earnings potential, or profitability of goods or services

               that are the subject of a sales offer;

           B. misrepresenting any material aspect of the performance, efficacy, nature, or central



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                characteristics of goods or services that are the subject of a sales offer;

           C. making a false or misleading statement to induce any person to pay for goods or

                services; and

           D. violating any provision of the TSR, 16 C.F .R. Part 310, a copy of which is attached as

                Attachment A, and the Telephone Fraud Prevention Act ("TFPA"), Utah Code,§ 13-

                26-1 et seq., a copy of which is attached as Attachment B.

                     III. PROHIBITION AGAINST MISREPRESENTATIONS

           IT IS FURTHER ORDERED that the Corporate Defendants and Individual Defendants,

    their officers, agents, employees, attorneys, and all other Persons in active concert or participation

    with them, who receive actual notice of this Order by personal service or otherwise, whether

    acting directly or indirectly, in co1mection with the advertising, marketing, promoting, offering

    for sale, or sale, of any goods or services, are permanently restrained and enjoined from:

           A.      Making any Earnings Claim, unless the Earnings Claim is truthful and not

    misleading, and, at the time such claim is made, Corporate Defendants and Individual

    Defendants: (1) have a reasonable basis for the claim; (2) have in their possession written

    materials that substantiate the claim; and (3) make the written substantiation available upon

    request to the consumer, potential purchaser or investor, the Receiver, and Plaintiffs;

           B.      Misrepresenting or assisting others in misrepresenting, expressly or by implication,

    any other fact material to consumers concerning any good or service, such as: the total costs;

    associated financing or credit; refund policy; any material restrictions, limitations, or conditions;

    or any material aspect of its performance, efficacy, nature, or central characteristics.




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           C.      Violating any provision of the BODA, Utah Code§ 13-15-1 et seq., a copy of

    which is attached as Attachment C.

                    IV.    INJUNCTION AGAINST SUPPRESSING COVERED
                          COMMUNICATIONS THROUGH CONTRACT TERMS

           IT IS FURTHER ORDERED that the Corporate Defendants and Individual Defendants,

    their officers, agents, employees, attorneys, and all other Persons in active concert or participation

    with them, who receive actual notice of this Order by personal service or otherwise, whether

    acting directly or indirectly, in connection with the advertising, marketing, promoting, offering

    for sale, or sale of any goods or services, are permanently restrained and enjoined from offering,

    attempting to enforce, or asserting the validity of, any Review-Limiting Contract Term.

           Provided, however, that nothing in this Section shall: require a Defendant to publish or

    host the content of any person; affect any other legal duty of a party to a contract; or affect any

    cause of action arising from the breach of such duty.

             V.      PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

           IT IS FURTHER ORDERED that the Corporate Defendants and Individual Defendants,

    their officers, agents, employees, attorneys, and all other Persons in active concert or participation

    with any of them; who receive actual notice of this Order, whether acting directly or indirectly,

    are hereby permanently restrained and enjoined from directly or indirectly:

           A.      Selling, renting, leasing, transferring, or otherwise disclosing, customer

    information including the name, address, birth date, telephone number, email address, payment

    card number, bank account number, Social Security number, or other financial or identifying

    information of any person that any Defendant obtained in connection with any activity that



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    pertains to the subject matter of this Order;

              B.     Benefitting from or using the name, address, birth date, telephone number, email

    address, credit card number, bank account number, Social Security number, or other financial or

    identifying information or any data that enables access to a customer's account (including a credit

    card, bank account, or other financial account) of any person that any Defendant obtained prior to

    entry of this Order in connection with any activity that pe1iains to the subject matter of this Order;

    and

              C.     Failing to destroy such customer information in all forms in their possession,

    custody, or control within fifteen (15) calendar days after entry of this Order.

              Provided, however, that customer information need not be disposed of, and may be

    disclosed, to the extent requested by a government agency or required by law, regulation, or court

    order.

                                     VI. MONETARY JUDGMENT

              IT IS FURTHER ORDERED that:

    A.        Judgment in the amount of One Hundred Four Million Seven Hundred Thousand Dollars

    ($104,700,000), consisting of Sixty-Eight Million Two Hundred Thousand Dollars ($68,200,000)

    in favor of the Commission, and Thirty-Six Million Five Hundred Thousand Dollars

    ($36,500,000) in favor of the Division, is entered against Zurixx, LLC, Brand Management

    Holdings, LLC, CJ Seminar Holdings, LLC, Dorado Marketing and Management, LLC, Zurixx

    Financial, LLC-Utah, and Zurixx Financial, LLC-Puerto Rico, jointly and severally, as monetary

    relief.

    B.        Judgment in the amount of Two Million Three Hundred Thirty-Three Thousand Three


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    Hundred Thirty-Three and 33/100 Dollars ($2,333,333.33) is entered in favor of Plaintiffs against

    Cristopher A. Cannon ("Cannon"), CAC Investment Ventures, LLC-Utah, and CAC Investment

    Ventures, LLC-Puerto Rico, jointly and severally, as monetary relief.

    C.      Judgment in the amount of Two Million Three Hundred Thirty-Three Thousand Three

    Hundred Thirty-Three and 33/100 Dollars ($2,333,333.33) is entered in favor of Plaintiffs against

    James M. Carlson ("Carlson"), Carlson Development Group, LLC-Utah, and Carlson

    Development Group, LLC-Puerto Rico, jointly and severally, as monetary relief.

    D.      Judgment in the amount of Two Million Three Hundred Thirty-Three Thousand Three

    Hundred Thirty-Three and 34/100 Dollars ($2,333,333.34) is entered in favor of Plaintiffs against

    Jeffrey D. Spangler ("Spangler"), JSS Investment Ventures, LLC, JSS Trust, and Relief

    Defendant, jointly and severally, as monetary relief.

    E.     Immediately upon entry of this Order, Defendants are ordered to surrender to Plaintiffs all

    control, title, dominion, and interest each has to the following assets:

            1.     All funds in any accounts in the name of Zurixx, LLC, Brand Management

            Holdings, LLC, CJ Seminar Holdings, LLC, Dorado Marketing and Management, LLC,

            Zurixx Financial, LLC-Utah, Zurixx Financial, LLC-Puerto Rico, and RE Cash Source,

           LLC ("Turnover Entities");

            2.     All cash and assets held by Receiver; and

            3.     All assets owned by the Turnover Entities or held by the Receiver, including any

            real, personal, or intellectual property, chattel, goods, instruments, equipment, fixtures,

            general intangibles, effects, leaseholds, contracts, mail, or other deliveries, shares or stock,

            securities, inventory, checks, notes, accounts, credits, receivables, insurance policies, lines


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           of credit, cash, trusts (including asset protection trusts), lists of consumer names and

           reserve funds or any other accounts associated with any payments processed by, or on

           behalf of, any Turnover Entity.

    F.     Cannon, CAC Investment Ventures, LLC-Utah, and CAC Investment Ventures, LLC-

    Puerto Rico are ordered to pay to the Plaintiffs Two Million Three Hundred Thirty-Three

    Thousand Three Hundred Thirty-Three and 33/100 Dollars ($2,333,333.33). Such payment must

    be made within 90 days of entry of this Order by electronic fund transfer in accordance with

    instructions previously provided by a representative of the Commission.

    G.     Carlson, Carlson Development Group, LLC-Utah, and Carlson Development Group, LLC-

    Puerto Rico are ordered to pay to the Plaintiffs Two Million Three Hundred Thirty-Three

    Thousand Three Hundred Thirty-Three and 33/100 Dollars ($2,333,333.33). Such payment must

    be made within 90 days of entry of this Order by electronic fund transfer in accordance with

    instructions previously provided by a representative of the Commission.

    H.     Spangler, JSS Investment Ventures, LLC, JSS Trust, and Relief Defendant are ordered to

    pay to the Plaintiffs Two Million Three Hundred Thirty-Three Thousand Three Hundred Thirty-

    Three and 34/100 Dollars ($2,333,333.34). Such payment must be made within 90 days of entry

    of this Order by electronic fund transfer in accordance with instructions previously provided by a

    representative of the Commission.

    I.     Defendants shall deliver or transfer the assets identified in Subsection E above to the

    Receiver's possession within 7 days of the entry of this Order.

    J.     The Receiver shall, as soon as practicable, commence the sale of the unliquidated assets

    identified in Subsections E.3 and surrendered pursuant to this Order using a commercially


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    reasonable procedure. The Receiver shall hold the surrendered assets, and the proceeds from the

    income produced by, and sale of, the unliquidated assets for future transfer to the Plaintiffs in

    accordance with further instructions from the Court. The Receiver is authorized to abandon any

    unliquidated asset that the Receiver detennines is not economically viable or is otherwise not

    practical to liquidate.

    K.      Defendants relinquish dominion and all legal and equitable right, title, and interest in all

    assets transferred pursuant to this Order and may not seek the return of any assets.

    L.      The facts alleged in the Complaint will be taken as true, without further proof, in any

    subsequent civil litigation by or on behalf of the Plaintiffs, including in a proceeding to enforce its

    rights to any payment or monetary judgment pursuant to this Order, such as a nondischargeability

    complaint in any bankruptcy case. The facts alleged in the Complaint will not be considered true

    or established for any purpose or for any party other than Plaintiffs as set forth in this Subsection

    and Subsection M below.

    M.      The facts alleged in the Complaint establish all elements necessary to sustain an action

    by the Plaintiffs pursuant to Section 523(a)(2)(A) of the Bankruptcy Code, 11 U.S.C.

    § 523(a)(2)(A), and this Order will have collateral estoppel effect for such purposes.

    N.      Defendants acknowledge that their Taxpayer Identification Numbers (Social Security

    Numbers or Employer Identification Numbers) may be used for collecting and reporting on any

    delinquent amount arising out of this Order, in accordance with 31 U.S.C. §7701.

    0.      All money received by the Commission pursuant to this Order may be deposited into a

    fund administered by the Commission or its designee to be used for consumer redress and any

    attendant expenses for the administration of any redress fund. If a representative of the


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    Commission, in consultation with the Division, decides that direct redress to consumers is wholly

    or partially impracticable or money remains after redress is completed, the Commission and may

    apply any remaining money for such other relief (including consumer information remedies) as it

    determines to be reasonably related to Defendants' practices alleged in the Complaint. Any

    money not used for such relief is to be deposited to the Utah Consumer Protection Education and

    Training Fund. Defendants have no right to challenge any actions the Commission or its

    representatives, or the Division or its representatives may take pursuant to this Subsection.

                        VU. MODIFICATION OF ASSET PRESERVATION

           IT IS FURTHER ORDERED that the asset freeze and asset preservation provisions

    imposed on the Defendants by the Amended Stipulated Preliminary Injunction [ECF No. 346]

    remains in effect, but will be lifted for the sole purpose of transferring funds and assets to

    Plaintiffs and the Receiver pursuant to Section VI and will be dissolved for each Defendant upon

    completion of the transfers required by each Defendant pursuant to Section VI.




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                                         VIII. RECEIVERSHIP

           IT IS FURTHER ORDERED that:

           A.      Except as modified by this Section, the Receivership imposed by the Court will

    continue as set forth in the Amended Stipulated Preliminary Injunction [ECF No. 346].

           B.      Upon approval of the Receiver's final report and request for payment, but no later

    than one hundred twenty (120) days after entry of the Court's approval of the Receiver's final

    report and request for payment, the Receivership will be terminated, and all funds remaining after

    payment of the Receiver's final approved payment must be remitted immediately to the

    Commission or its designated representative.

           C.      Any party or the Receiver may request that the Court extend the Receiver's tenn

    for good cause.

                                          IX. COOPERATION

           IT IS FURTHER ORDERED that Defendants must fully cooperate with representatives of

    Plaintiffs and the Receiver in this case and in any investigation related to or associated with the

    transactions or the occurrences that are the subject of the Complaint. Defendants must provide

    truthful and complete information, evidence, and testimony. Defendants must appear and

    Corporate Defendants must cause Defendants' officers, employees, representatives, or agents to

    appear for interviews, discovery, hearings, trials, and any other proceedings that Plaintiffs' or

    Receiver's representative may reasonably request upon 5 days written notice, or other reasonable

    notice, at such places and times as Plaintiffs' or Receiver's representative may designate, without

    the service of a subpoena.




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                                  X. ORDER ACKNOWLEDGMENTS

             IT IS FURTHER ORDERED that Defendants obtain acknowledgments ofreceipt of this

    Order:

    A.       Each Defendant, within 7 days of entry of this Order, must submit to the Commission and

    the Division an acknowledgment of receipt of this Order sworn under penalty of pe1jury.

    B.       For 3 years after entry of this Order, each Individual Defendant for any business that

    such Defendant, individually or collectively_ with any other Defendants, is the majority owner or

    controls directly or indirectly, and each Corporate Defendant, must deliver a copy of this Order to:

    (1) all principals, officers, directors, and LLC managers and members; (2) all employees having

    managerial responsibilities for conduct related to the subject matter of the Order and all agents

    and representatives who participate in conduct related to the subject matter of the Order; and (3)

    any business entity resulting from any change in structure as set forth in the Section titled

    Compliance Reporting. Delivery must occur within 7 days of entry of this Order for current

    personnel. For all others, delivery must occur before they assume their responsibilities.

    C.       From each individual or entity to which a Defendant delivered a copy of this Order, that

    Defendant must obtain, within 30 days, a signed and dated acknowledgment of receipt of this

    Order.

                                    XI. COMPLIANCE REPORTING

             IT IS FURTHER ORDERED that Defendants make timely submissions to the Plaintiffs:

    A.       One year after entry of this Order, each Defendant must submit a compliance report,

    sworn under penalty of perjury:

    1.       Each Defendant must: (a) identify the primary physical, postal, and email address and


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    telephone number, as designated points of contact, which representatives of the Commission or

    the Division may use to communicate with Defendant; (b) identify all of that Defendant's

    businesses by all of their names, telephone numbers, and physical, postal, email, and Internet

    addresses; (c) describe the activities of each business, including the goods and services offered,

    the means of advertising, marketing, and sales, and the involvement of any other Defendant

    (which Individual Defendants must describe if they know or should know due to their own

    involvement); (d) describe in detail whether and how that Defendant is in compliance with each

    Section of this Order; and (e) provide a copy of each Order Acknowledgment obtained pursuant to

    this Order, unless previously submitted to the Commission and the Division.

    2.     Additionally, each Individual Defendant must: (a) identify all telephone numbers and all

    physical, postal, email and Internet addresses, including all residences; (b) identify all business

    activities, including any business for which such Defendant performs services whether as an

    employee or otherwise and any entity in which such Defendant has any ownership interest; and

    (c) describe in detail such Defendant's involvement in each such business, including title, role,

    responsibilities, participation, authority, control, and any ownership.

    B.     For 10 years after entry of this Order, each Defendant must submit a compliance notice,

    sworn under penalty of perjury, within 14 days of any change in the following:

    1.     Each Defendant must report any change in: (a) any designated point of contact; or (b) the

    structure of any Corporate Defendant or any entity that Defendant has any ownership interest in

    or controls directly or indirectly that may affect compliance obligations arising under this Order,

    including: creation, merger, sale, or dissolution of the entity or any subsidiary, parent, or affiliate

    that engages in any acts or practices subject to this Order.


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    2.      Additionally, each Individual Defendant must report any change in: (a) name, including

    aliases or fictitious name, or residence address; or (b) title or role in any business activity,

    including any business for which such Defendant performs services whether as an employee or

    otherwise and any entity in which such Defendant has any ownership interest, and identify the

    name, physical address, and any Internet address of the business or entity.

    C.      Each Defendant must submit to the Commission and the Division notice of the filing of

    any bankruptcy petition, insolvency proceeding, or similar proceeding by or against such

    Defendant within 14 days of its filing.

    D.      Any submission to the Plaintiffs required by this Order to be sworn under penalty of

    perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by concluding: "I

    declare under penalty of perjury under the laws of the United States of America that the foregoing

    is true and correct. Executed on: _ _" and supplying the date, signatory's full name, title (if

    applicable), and signature.

    E.      Unless otherwise directed by a Commission representative in writing, all submissions to

    the Co1mnission pursuant to this Order must be emailed to DEbrief@ftc.gov or sent by overnight

    courier (not the U.S. Postal Service) to: Associate Director for Enforcement, Bureau of

    Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW, Washington,

    DC 20580. The subject line must begin: FTC v. Zurixx, LLC, et al. (Name of the Defendant)

    F.      Unless otherwise directed by a Division representative in writing, all submissions to the

    Division pursuant to this Order must be emailed to consumerprotection@utah.gov or sent by

    overnight courier (not the U.S. Postal Service) to: Director, Utah Division of Consumer

    Protection, Heber M. Wells Building, 160 East 300 South, P.O. Box 146704, Salt Lake City, Utah


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    84114-6704. The subject line must begin: FTC v. Zurixx, LLC, et al. (Name of Defendant).

                                        XII. RECORDKEEPING

           IT IS FURTHER ORDERED that Defendants must create certain records for 10 years

    after entry of the Order, and retain each such record for 5 years. Specifically, Corporate

    Defendant and each Individual Defendant for any business that such Defendant, individually or

    collectively with any other Defendants, is a majority owner or controls directly or indirectly, must

    create and retain the following records:

    A.      accounting records showing the revenues from all goods or services sold;

    B.     personnel records showing, for each person providing services, whether as an employee or

    otherwise, that person's: name; addresses; telephone numbers; job title or position; dates of

    service; and (if applicable) the reason for termination;

    C.      records of all consumer complaints and refund requests, whether received directly or

    indirectly, such as through a third party, and any response;

    D.      all records necessary to demonstrate full compliance with each provision of this Order,

    including all submissions to the Commission and the Division; and

    E.      a copy of each unique advertisement or other marketing material.

                                 XIII. COMPLIANCE MONITORING

            IT IS FURTHER ORDERED that, for the purpose of monitoring Defendants' compliance

    with this Order and any failure to transfer any assets as required by this Order:

    A.      Within 14 days of receipt of a written request from a representative of the Commission or

    the Division, each Defendant must: submit additional compliance reports or other requested

     information, which must be sworn under penalty of perjury; appear for depositions; and produce


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    documents for inspection and copying. The Commission and the Division are also authorized to

    obtain discovery, without further leave of court, using any of the procedures prescribed by

    Federal Rules of Civil Procedure 29, 30 (including telephonic and remote depositions), 31, 33, 34,

    36, 45, and 69.

    B.         For matters concerning this Order, the Commission and the Division are authorized to

    communicate directly with each Defendant. Defendant must pennit representatives of the

    Commission and the Division to interview any employee or other person affiliated with any

    Defendant who has agreed to such an interview. The person interviewed may have counsel

    present.

    C.     The Commission and the Division may use all other lawful means, including posing,

    through its representatives as consumers, suppliers, or other individuals or entities, to Defendants

    or any individual or entity affiliated with Defendants, without the necessity of identification or

    prior notice. Nothing in this Order limits the Commission's lawful use of compulsory process,

    pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-l.

    D.     Upon written request from a representative of the Commission or the Division, any

    consumer reporting agency must furnish consumer reports concerning Individual Defendants,

    Relief Defendant, and JSS Trustee Defendant pursuant to Section 604(1) of the Fair Credit

    Reporting Act, 15 U.S.C. §1681b(a)(l).




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                               XIV. RETENTION OF JURISDICTION

           IT IS FURTHER ORDERED that this Court retains jurisdiction of this matter for purposes

    of construction, modification, and enforcement of this Order.



    SO ORDERED this 15th day of February 2022.



                                                UNITED STATES DISTRICT JUDGE
                                                HON. DALE A. KlMBALL




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    IT IS SO STIPULATED AND AGREED:


    FOR PLAINTIFF:

    FEDERAL TRADE COMMISSION
    /s/ Joshua A. Doan                                     Date: 2/14/2022
    Roberto Anguizola
    Joshua Doan
    Thomas Harris
    (Each appearing per DUCivR 83-1. l(d)(l))
    Federal Trade Commission
    600 Pennsylvania Ave. NW, CC-8528
    Tel: (202) 326-3284 (R. Anguizola
    Email: ranguizola@ftc.gov
    Email: jdoan@ftc.gov
    Email: agrier@ftc.gov
    Email: tharris l @ftc.gov

    Attorneys for Plaintiff
    FEDERAL TRADE COMMISSION


    UTAH DIVISION OF CONSUMER PROTECTION

    /s/ Robert G. Wing (by JAD w/ perm.)
                                                           Date: 2/14/2022
    Robert G. Wing (4445)
    Thomas M. Melton (4999)
    Assistant Attorneys General
    Utah Attorney General's Office
    160 East 300 South, Fifth Floor
    Salt Lake City, Utah 84114
    Tel: (801) 366-0310
    Email: rwing@agutah.gov
    Email: tmelton@agutah.gov

    Attorneys for Plaintiff
    UTAH DIVISION OF CONSUMER
    PROTECTION



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    FOR DEFENDANTS:



                                                      Date: ~ \

    RAY QUINNEY & NEBEKER, PC
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    PO Box 45385
    Salt Lake City, UT 84145
    Telephone: 801-323-3327
    Email: rpahnke@rqn.com
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 ,...._,                                              Date: \   l ·\1·11

    2700 Homestead Rd., Suite 60
    Park City, UT 84908
    Telephone: 858-375-7385
    Email: ericb@potterhandy .com


      ~L-                                             Date:     12/15/2021

    D. Loren Washburn
    ARMSTRONG TEAS




                                                      Date:     /   :J. - / .J - J_ /
    Angel L
    Ryan J rowne
    REYE BROWNE REILLEY
    8222 Douglas Avenue, Suite 400 Dallas, TX 75225
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    Fax: (214) 526-7910
    Email:angel@reyeslaw.com
    Ernail:ryan@reyeslaw.com


           Attorneys for Zurixx, LLC, Brand Afanagemenl Holding8, LLC,


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          CAC fnveshnent Ventures, LLC•Utah,
          CAC Investment Ventures, LLC•Puerto Rico,
          Carlson Development Group, LLC•Utah,
          Carlson Development Group, LLC-Puerto Rico,
          CJ Seminar Holdings, LLC, Dorado Marketing and Management; LLC,
          Zurixx Financial, LLC-Utah, Zurixx Financial, LLC-Puerto Rico,
          Cristopher A Cannon, James M Carlson, and Je_f]j·ey D. Spangler




                                                         Date:   12/15/2021

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    Michael Gehret
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    Emai l: mgehret@atllip.com
    Email: tcamp@atllp.com

           Attorneys.for JSS Investment Ventures, LLC,
           JSS Trust, Gerald D. Spangler, and
           Relief Defendant Stephenie J Spangler




    DEFZda--
    Cristopher A. Cannon, individually, and as
                                                          Date:

    an officer of Zurixx, LLC and Dorado Marketing and
    Management, LLC, a manager of CJ Seminai: Holdings, LLC,
    and a manager and member of CAC Investment Ventures LLC· Utah
    and CAC Investment Ventures LLC-Pueno Rico


                                                                 Date:        fl/tJ/lt
    James . Carlson, indivi ually, and as
    chief exceptive officer of Zurix:x, LLC, and Brand
    Management Holdings, LLC, an officer of


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    Dorado Marketing and Management, LLC,



    LLC~~;::r~rn
    and a manager and member of Carlson Development Group, LLC-Utah
    and Carlson Development Group, LLC-Pucrto Rico, and a control person of Zurixx Financial,

                                                   ITTeo

                                                              Date:
    Jeffrey . Spangler, individually, and as officer of
    Zurixx, LLC and Dorado Marketing and Management, LLC,
    a manager of CJ Seminar Holdings, LLC, , and the grantor of JSS Trust


    ~12•'fe.r~6
    Gerald D. Spangler, as trustee for the JSS Trust, and
                                                                    Date: I   3/1r/z..1
    as a manager of JSS Investment Ventures, LLC


    RELIEF DEFENDANT:


                                                            Date:
    Stephenie J. Spangler, individually




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    Dorado Marketing and Management, LLC,
    and a manager and member of Carlson Development Group, LLC-Utah
    and Carlson Development Group, LLC-Pucrto Rico, and a control person of Zurixx Financial,
    LLC-Utah and Zurixx-Financial, LLC- Puerto Rico.


                                                             Date:
    Jeffrey . Spangler, individually, and as officer of
    Zurixx, LLC and Dorado Marketing and Management, LLC,
    a manager of CJ Seminar Iloldings, LLC,, and the grantor of JSS Trust


                                                                     Date:
    Gerald D. Spang ler, as trustee for the JSS Trust, and
    as a manager of JSS Investment Ventures, LLC


     RELIEF DEF~NDANT:


                                                             Date:   ~_]o21




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                            Attachment A
                  Telemarketing Sales Rule
                                           AUTHENTICATE ~
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                                                                         Federal Trade Commission                                                                       § 310.2

                                                                                                   APPENDIX A TO PART 309—FIGURES FOR PART 309




                                                                                                                                        HYDROGEN
                                                                                        MINIMUM                                                 MINIMUM
                                                                                             90°/o                                                 98°/o
                                                                                        METHANE                                            HYDROGEN
                                                                                                  Figure 1                                          Figure 2




                                                                               ELECTRICITY
                                                                                             9.6 kW
                                                                                     240 vac/40 amps
                                                                                     CONDUCTIVE
                                                                                                  Figure 3

                                                                         [60 FR 26955, May 19, 1995, as amended at 69 FR 55339, Sept. 14, 2004; 78 FR 23835, Apr. 23, 2013]



                                                                           PART 310—TELEMARKETING SALES                             § 310.1 Scope of regulations in this
                                                                                       RULE                                             part.
                                                                                                                                       This part implements the Tele-
                                                                         Sec.                                                       marketing and Consumer Fraud and
                                                                         310.1 Scope of regulations in this part.                   Abuse Prevention Act, 15 U.S.C. 6101-
                                                                         310.2 Definitions.                                         6108, as amended.
                                                                         310.3 Deceptive telemarketing acts or prac-
                                                                             tices.                                                 § 310.2 Definitions.
                                                                         310.4 Abusive telemarketing acts or prac-                     (a) Acquirer means a business organi-
                                                                             tices.                                                 zation, financial institution, or an
                                                                         310.5 Recordkeeping requirements.
                                                                                                                                    agent of a business organization or fi-
                                                                         310.6 Exemptions.
                                                                                                                                    nancial institution that has authority
                                                                         310.7 Actions by states and private persons.
                                                                                                                                    from an organization that operates or
                                                                         310.8 Fee for access to the National Do Not
                                                                             Call Registry.                                         licenses a credit card system to author-
                                                                         310.9 Severability.                                        ize merchants to accept, transmit, or
                                                                                                                                    process payment by credit card
                                                                            AUTHORITY: 15 U.S.C. 6101–6108.                         through the credit card system for
kpayne on VMOFRWIN702 with $$_JOB




                                                                           SOURCE: 75 FR 48516, Aug. 10, 2010, unless               money, goods or services, or anything
                                                                         otherwise noted.                                           else of value.

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                                                                                                                                                                                  EC29SE91.044</GPH>




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                                                                   § 310.2                                                                  16 CFR Ch. I (1–1–21 Edition)

                                                                      (b) Attorney General means the chief                    that can be used to add funds to a gen-
                                                                   legal officer of a state.                                  eral-use prepaid card, as defined in
                                                                      (c) Billing information means any data                  Regulation E, 12 CFR 1005.2, or an ac-
                                                                   that enables any person to access a                        count with a payment intermediary.
                                                                   customer’s or donor’s account, such as                     For purposes of this definition, a cash
                                                                   a credit card, checking, savings, share                    reload mechanism is not itself a gen-
                                                                   or similar account, utility bill, mort-                    eral-use prepaid debit card or a swipe
                                                                   gage loan account, or debit card.                          reload process or similar method in
                                                                      (d) Caller identification service means a               which funds are added directly onto a
                                                                   service that allows a telephone sub-                       person’s own general-use prepaid card
                                                                   scriber to have the telephone number,                      or account with a payment inter-
                                                                   and, where available, name of the call-                    mediary.
                                                                   ing party transmitted contempora-                            (h) Charitable contribution means any
                                                                   neously with the telephone call, and                       donation or gift of money or any other
                                                                   displayed on a device in or connected                      thing of value.
                                                                   to the subscriber’s telephone.
                                                                                                                                (i) Commission means the Federal
                                                                      (e) Cardholder means a person to
                                                                                                                              Trade Commission.
                                                                   whom a credit card is issued or who is
                                                                   authorized to use a credit card on be-                       (j) Credit means the right granted by
                                                                   half of or in addition to the person to                    a creditor to a debtor to defer payment
                                                                   whom the credit card is issued.                            of debt or to incur debt and defer its
                                                                      (f) Cash-to-cash money transfer means                   payment.
                                                                   the electronic (as defined in section                        (k) Credit card means any card, plate,
                                                                   106(2) of the Electronic Signatures in                     coupon book, or other credit device ex-
                                                                   Global and National Commerce Act (15                       isting for the purpose of obtaining
                                                                   U.S.C. 7006(2)) transfer of the value of                   money, property, labor, or services on
                                                                   cash received from one person to an-                       credit.
                                                                   other person in a different location                         (l) Credit card sales draft means any
                                                                   that is sent by a money transfer pro-                      record or evidence of a credit card
                                                                   vider and received in the form of cash.                    transaction.
                                                                   For purposes of this definition, money                       (m) Credit card system means any
                                                                   transfer provider means any person or                      method or procedure used to process
                                                                   financial institution that provides                        credit card transactions involving cred-
                                                                   cash-to-cash money transfers for a per-                    it cards issued or licensed by the oper-
                                                                   son in the normal course of its busi-                      ator of that system.
                                                                   ness, whether or not the person holds                        (n) Customer means any person who is
                                                                   an account with such person or finan-                      or may be required to pay for goods or
                                                                   cial institution. The term cash-to-cash                    services     offered     through     tele-
                                                                   money transfer includes a remittance                       marketing.
                                                                   transfer, as defined in section 919(g)(2)                    (o) Debt relief service means any pro-
                                                                   of the Electronic Fund Transfer Act                        gram or service represented, directly or
                                                                   (‘‘EFTA’’), 15 U.S.C. 1693a, that is a
                                                                                                                              by implication, to renegotiate, settle,
                                                                   cash-to-cash transaction; however it
                                                                                                                              or in any way alter the terms of pay-
                                                                   does not include any transaction that
                                                                                                                              ment or other terms of the debt be-
                                                                   is:
                                                                                                                              tween a person and one or more unse-
                                                                      (1) An electronic fund transfer as de-
                                                                                                                              cured creditors or debt collectors, in-
                                                                   fined in section 903 of the EFTA;
                                                                      (2) Covered by Regulation E, 12 CFR                     cluding, but not limited to, a reduction
                                                                   1005.20, pertaining to gift cards; or                      in the balance, interest rate, or fees
                                                                      (3) Subject to the Truth in Lending                     owed by a person to an unsecured cred-
                                                                   Act, 15 U.S.C. 1601 et seq.                                itor or debt collector.
                                                                      (g) Cash reload mechanism is a device,                    (p) Donor means any person solicited
                                                                   authorization code, personal identifica-                   to make a charitable contribution.
                                                                   tion number, or other security measure                       (q) Established business relationship
                                                                   that makes it possible for a person to                     means a relationship between a seller
                                                                   convert cash into an electronic (as de-                    and a consumer based on:
                                                                   fined in section 106(2) of the Electronic                    (1) the consumer’s purchase, rental,
kpayne on VMOFRWIN702 with $$_JOB




                                                                   Signatures in Global and National                          or lease of the seller’s goods or services
                                                                   Commerce Act (15 U.S.C. 7006(2)) form                      or a financial transaction between the

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                                                                   consumer and seller, within the eight-                       (z) Preacquired account information
                                                                   een (18) months immediately preceding                      means any information that enables a
                                                                   the date of a telemarketing call; or                       seller or telemarketer to cause a
                                                                     (2) the consumer’s inquiry or applica-                   charge to be placed against a cus-
                                                                   tion regarding a product or service of-                    tomer’s or donor’s account without ob-
                                                                   fered by the seller, within the three (3)                  taining the account number directly
                                                                   months immediately preceding the                           from the customer or donor during the
                                                                   date of a telemarketing call.                              telemarketing transaction pursuant to
                                                                     (r) Free-to-pay conversion means, in an                  which the account will be charged.
                                                                   offer or agreement to sell or provide                        (aa) Prize means anything offered, or
                                                                   any goods or services, a provision                         purportedly offered, and given, or pur-
                                                                   under which a customer receives a                          portedly given, to a person by chance.
                                                                   product or service for free for an initial                 For purposes of this definition, chance
                                                                   period and will incur an obligation to                     exists if a person is guaranteed to re-
                                                                   pay for the product or service if he or                    ceive an item and, at the time of the
                                                                   she does not take affirmative action to                    offer or purported offer, the tele-
                                                                   cancel before the end of that period.                      marketer does not identify the specific
                                                                     (s) Investment opportunity means any-                    item that the person will receive.
                                                                   thing, tangible or intangible, that is of-                   (bb) Prize promotion means:
                                                                   fered, offered for sale, sold, or traded                     (1) A sweepstakes or other game of
                                                                   based wholly or in part on representa-                     chance; or
                                                                   tions, either express or implied, about                      (2) An oral or written express or im-
                                                                   past, present, or future income, profit,                   plied representation that a person has
                                                                   or appreciation.                                           won, has been selected to receive, or
                                                                     (t) Material means likely to affect a                    may be eligible to receive a prize or
                                                                   person’s choice of, or conduct regard-                     purported prize.
                                                                   ing, goods or services or a charitable                       (cc) Remotely created payment order
                                                                   contribution.                                              means any payment instruction or
                                                                     (u) Merchant means a person who is                       order drawn on a person’s account that
                                                                   authorized under a written contract                        is created by the payee or the payee’s
                                                                   with an acquirer to honor or accept                        agent and deposited into or cleared
                                                                   credit cards, or to transmit or process                    through the check clearing system.
                                                                   for payment credit card payments, for                      The term includes, without limitation,
                                                                   the purchase of goods or services or a                     a ‘‘remotely created check,’’ as defined
                                                                   charitable contribution.                                   in Regulation CC, Availability of
                                                                     (v) Merchant agreement means a writ-                     Funds and Collection of Checks, 12 CFR
                                                                   ten contract between a merchant and                        229.2(fff), but does not include a pay-
                                                                   an acquirer to honor or accept credit                      ment order cleared through an Auto-
                                                                   cards, or to transmit or process for                       mated Clearinghouse (ACH) Network or
                                                                   payment credit card payments, for the                      subject to the Truth in Lending Act, 15
                                                                   purchase of goods or services or a char-                   U.S.C. 1601 et seq., and Regulation Z, 12
                                                                   itable contribution.                                       CFR part 1026.
                                                                     (w) Negative option feature means, in                      (dd) Seller means any person who, in
                                                                   an offer or agreement to sell or provide                   connection with a telemarketing trans-
                                                                   any goods or services, a provision                         action, provides, offers to provide, or
                                                                   under which the customer’s silence or                      arranges for others to provide goods or
                                                                   failure to take an affirmative action to                   services to the customer in exchange
                                                                   reject goods or services or to cancel the                  for consideration.
                                                                   agreement is interpreted by the seller                       (ee) State means any state of the
                                                                   as acceptance of the offer.                                United States, the District of Colum-
                                                                     (x) Outbound telephone call means a                      bia, Puerto Rico, the Northern Mariana
                                                                   telephone call initiated by a tele-                        Islands, and any territory or possession
                                                                   marketer to induce the purchase of                         of the United States.
                                                                   goods or services or to solicit a chari-                     (ff) Telemarketer means any person
                                                                   table contribution.                                        who, in connection with telemarketing,
                                                                     (y) Person means any individual,                         initiates or receives telephone calls to
                                                                   group, unincorporated association, lim-                    or from a customer or donor.
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                                                                   ited or general partnership, corpora-                        (gg) Telemarketing means a plan, pro-
                                                                   tion, or other business entity.                            gram, or campaign which is conducted

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                                                                   § 310.3                                                                  16 CFR Ch. I (1–1–21 Edition)

                                                                   to induce the purchase of goods or serv-                     (1) Before a customer consents to
                                                                   ices or a charitable contribution, by                      pay 659 for goods or services offered,
                                                                   use of one or more telephones and                          failing to disclose truthfully, in a clear
                                                                   which involves more than one inter-                        and conspicuous manner, the following
                                                                   state telephone call. The term does not                    material information:
                                                                   include the solicitation of sales                            (i) The total costs to purchase, re-
                                                                   through the mailing of a catalog                           ceive, or use, and the quantity of, any
                                                                   which: contains a written description                      goods or services that are the subject
                                                                   or illustration of the goods or services                   of the sales offer; 660
                                                                   offered for sale; includes the business                      (ii) All material restrictions, limita-
                                                                   address of the seller; includes multiple
                                                                                                                              tions, or conditions to purchase, re-
                                                                   pages of written material or illustra-
                                                                                                                              ceive, or use the goods or services that
                                                                   tions; and has been issued not less fre-
                                                                                                                              are the subject of the sales offer;
                                                                   quently than once a year, when the
                                                                   person making the solicitation does                          (iii) If the seller has a policy of not
                                                                   not solicit customers by telephone but                     making refunds, cancellations, ex-
                                                                   only receives calls initiated by cus-                      changes, or repurchases, a statement
                                                                   tomers in response to the catalog and                      informing the customer that this is the
                                                                   during those calls takes orders only                       seller’s policy; or, if the seller or tele-
                                                                   without further solicitation. For pur-                     marketer makes a representation
                                                                   poses of the previous sentence, the                        about a refund, cancellation, exchange,
                                                                   term ‘‘further solicitation’’ does not                     or repurchase policy, a statement of all
                                                                   include providing the customer with                        material terms and conditions of such
                                                                   information about, or attempting to                        policy;
                                                                   sell, any other item included in the                         (iv) In any prize promotion, the odds
                                                                   same catalog which prompted the cus-                       of being able to receive the prize, and,
                                                                   tomer’s call or in a substantially simi-                   if the odds are not calculable in ad-
                                                                   lar catalog.                                               vance, the factors used in calculating
                                                                      (hh) Upselling means soliciting the                     the odds; that no purchase or payment
                                                                   purchase of goods or services following                    is required to win a prize or to partici-
                                                                   an initial transaction during a single                     pate in a prize promotion and that any
                                                                   telephone call. The upsell is a separate                   purchase or payment will not increase
                                                                   telemarketing transaction, not a con-                      the person’s chances of winning; and
                                                                   tinuation of the initial transaction. An                   the no-purchase/no-payment method of
                                                                   ‘‘external upsell’’ is a solicitation                      participating in the prize promotion
                                                                   made by or on behalf of a seller dif-                      with either instructions on how to par-
                                                                   ferent from the seller in the initial                      ticipate or an address or local or toll-
                                                                   transaction, regardless of whether the                     free telephone number to which cus-
                                                                   initial transaction and the subsequent
                                                                                                                              tomers may write or call for informa-
                                                                   solicitation are made by the same tele-
                                                                                                                              tion on how to participate;
                                                                   marketer. An ‘‘internal upsell’’ is a so-
                                                                   licitation made by or on behalf of the
                                                                                                                                 659 When a seller or telemarketer uses, or
                                                                   same seller as in the initial trans-
                                                                   action, regardless of whether the ini-                     directs a customer to use, a courier to trans-
                                                                                                                              port payment, the seller or telemarketer
                                                                   tial transaction and subsequent solici-
                                                                                                                              must make the disclosures required by
                                                                   tation are made by the same tele-                          § 310.3(a)(1) before sending a courier to pick
                                                                   marketer.                                                  up payment or authorization for payment, or
                                                                   [75 FR 48516, Aug. 10, 2010, as amended at 80              directing a customer to have a courier pick
                                                                   FR 77557, Dec. 14, 2015]                                   up payment or authorization for payment. In
                                                                                                                              the case of debt relief services, the seller or
                                                                                                                              telemarketer must make the disclosures re-
                                                                   § 310.3 Deceptive telemarketing acts or                    quired by § 310.3(a)(1) before the consumer en-
                                                                       practices.                                             rolls in an offered program.
                                                                                                                                 660 For offers of consumer credit products
                                                                     (a) Prohibited deceptive telemarketing
                                                                   acts or practices. It is a deceptive tele-                 subject to the Truth in Lending Act, 15
                                                                   marketing act or practice and a viola-                     U.S.C. 1601 et seq., and Regulation Z, 12 CFR
                                                                                                                              226, compliance with the disclosure require-
                                                                   tion of this Rule for any seller or tele-
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                                                                                                                              ments under the Truth in Lending Act and
                                                                   marketer to engage in the following                        Regulation Z shall constitute compliance
                                                                   conduct:                                                   with § 310.3(a)(1)(i) of this Rule.

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                                                                     (v) All material costs or conditions                     the account, the customer may with-
                                                                   to receive or redeem a prize that is the                   draw from the debt relief service at any
                                                                   subject of the prize promotion;                            time without penalty, and, if the cus-
                                                                     (vi) In the sale of any goods or serv-                   tomer withdraws, the customer must
                                                                   ices represented to protect, insure, or                    receive all funds in the account, other
                                                                   otherwise limit a customer’s liability                     than funds earned by the debt relief
                                                                   in the event of unauthorized use of the                    service        in     compliance     with
                                                                   customer’s credit card, the limits on a                    § 310.4(a)(5)(i)(A) through (C).
                                                                   cardholder’s liability for unauthorized                       (2) Misrepresenting, directly or by
                                                                   use of a credit card pursuant to 15                        implication, in the sale of goods or
                                                                   U.S.C. 1643;                                               services any of the following material
                                                                     (vii) If the offer includes a negative                   information:
                                                                   option feature, all material terms and
                                                                                                                                 (i) The total costs to purchase, re-
                                                                   conditions of the negative option fea-
                                                                                                                              ceive, or use, and the quantity of, any
                                                                   ture, including, but not limited to, the
                                                                                                                              goods or services that are the subject
                                                                   fact that the customer’s account will
                                                                   be charged unless the customer takes                       of a sales offer;
                                                                   an affirmative action to avoid the                            (ii) Any material restriction, limita-
                                                                   charge(s), the date(s) the charge(s) will                  tion, or condition to purchase, receive,
                                                                   be submitted for payment, and the spe-                     or use goods or services that are the
                                                                   cific steps the customer must take to                      subject of a sales offer;
                                                                   avoid the charge(s); and                                      (iii) Any material aspect of the per-
                                                                     (viii) In the sale of any debt relief                    formance, efficacy, nature, or central
                                                                   service:                                                   characteristics of goods or services
                                                                     (A) the amount of time necessary to                      that are the subject of a sales offer;
                                                                   achieve the represented results, and to                       (iv) Any material aspect of the na-
                                                                   the extent that the service may include                    ture or terms of the seller’s refund,
                                                                   a settlement offer to any of the cus-                      cancellation, exchange, or repurchase
                                                                   tomer’s creditors or debt collectors,                      policies;
                                                                   the time by which the debt relief serv-                       (v) Any material aspect of a prize
                                                                   ice provider will make a bona fide set-                    promotion including, but not limited
                                                                   tlement offer to each of them;                             to, the odds of being able to receive a
                                                                     (B) to the extent that the service                       prize, the nature or value of a prize, or
                                                                   may include a settlement offer to any                      that a purchase or payment is required
                                                                   of the customer’s creditors or debt col-                   to win a prize or to participate in a
                                                                   lectors, the amount of money or the                        prize promotion;
                                                                   percentage of each outstanding debt                           (vi) Any material aspect of an invest-
                                                                   that the customer must accumulate be-                      ment opportunity including, but not
                                                                   fore the debt relief service provider                      limited to, risk, liquidity, earnings po-
                                                                   will make a bona fide settlement offer                     tential, or profitability;
                                                                   to each of them;
                                                                                                                                 (vii) A seller’s or telemarketer’s af-
                                                                     (C) to the extent that any aspect of
                                                                                                                              filiation with, or endorsement or spon-
                                                                   the debt relief service relies upon or re-
                                                                                                                              sorship by, any person or government
                                                                   sults in the customer’s failure to make
                                                                   timely payments to creditors or debt                       entity;
                                                                   collectors, that the use of the debt re-                      (viii) That any customer needs of-
                                                                   lief service will likely adversely affect                  fered goods or services to provide pro-
                                                                   the customer’s creditworthiness, may                       tections a customer already has pursu-
                                                                   result in the customer being subject to                    ant to 15 U.S.C. 1643;
                                                                   collections or sued by creditors or debt                      (ix) Any material aspect of a nega-
                                                                   collectors, and may increase the                           tive option feature including, but not
                                                                   amount of money the customer owes                          limited to, the fact that the customer’s
                                                                   due to the accrual of fees and interest;                   account will be charged unless the cus-
                                                                   and                                                        tomer takes an affirmative action to
                                                                     (D) to the extent that the debt relief                   avoid the charge(s), the date(s) the
                                                                   service requests or requires the cus-                      charge(s) will be submitted for pay-
                                                                   tomer to place funds in an account at                      ment, and the specific steps the cus-
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                                                                   an insured financial institution, that                     tomer must take to avoid the
                                                                   the customer owns the funds held in                        charge(s); or

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                                                                   § 310.3                                                                  16 CFR Ch. I (1–1–21 Edition)

                                                                     (x) Any material aspect of any debt                      donor’s authorization of payment for
                                                                   relief service, including, but not lim-                    the goods or services or charitable con-
                                                                   ited to, the amount of money or the                        tribution that are the subject of the
                                                                   percentage of the debt amount that a                       telemarketing transaction and the cus-
                                                                   customer may save by using such serv-                      tomer’s or donor’s receipt of all of the
                                                                   ice; the amount of time necessary to                       following information:
                                                                   achieve the represented results; the                          (A) An accurate description, clearly
                                                                   amount of money or the percentage of                       and conspicuously stated, of the goods
                                                                   each outstanding debt that the cus-                        or services or charitable contribution
                                                                   tomer must accumulate before the pro-                      for which payment authorization is
                                                                   vider of the debt relief service will ini-                 sought;
                                                                   tiate attempts with the customer’s                            (B) The number of debits, charges, or
                                                                   creditors or debt collectors or make a                     payments (if more than one);
                                                                   bona fide offer to negotiate, settle, or                      (C) The date(s) the debit(s), charge(s),
                                                                   modify the terms of the customer’s                         or payment(s) will be submitted for
                                                                   debt; the effect of the service on a cus-                  payment;
                                                                   tomer’s creditworthiness; the effect of
                                                                                                                                 (D) The amount(s) of the debit(s),
                                                                   the service on collection efforts of the
                                                                                                                              charge(s), or payment(s);
                                                                   customer’s creditors or debt collectors;
                                                                                                                                 (E) The customer’s or donor’s name;
                                                                   the percentage or number of customers
                                                                   who attain the represented results; and                       (F) The customer’s or donor’s billing
                                                                   whether a debt relief service is offered                   information, identified with sufficient
                                                                   or provided by a non-profit entity.                        specificity such that the customer or
                                                                     (3) Causing billing information to be                    donor understands what account will
                                                                   submitted for payment, or collecting or                    be used to collect payment for the
                                                                   attempting to collect payment for                          goods or services or charitable con-
                                                                   goods or services or a charitable con-                     tribution that are the subject of the
                                                                   tribution, directly or indirectly, with-                   telemarketing transaction;
                                                                   out the customer’s or donor’s express                         (G) A telephone number for customer
                                                                   verifiable authorization, except when                      or donor inquiry that is answered dur-
                                                                   the method of payment used is a credit                     ing normal business hours; and
                                                                   card subject to protections of the                            (H) The date of the customer’s or do-
                                                                   Truth in Lending Act and Regulation                        nor’s oral authorization; or
                                                                   Z,661 or a debit card subject to the pro-                     (iii) Written confirmation of the
                                                                   tections of the Electronic Fund Trans-                     transaction, identified in a clear and
                                                                   fer Act and Regulation E.662 Such au-                      conspicuous manner as such on the
                                                                   thorization shall be deemed verifiable                     outside of the envelope, sent to the
                                                                   if any of the following means is em-                       customer or donor via first class mail
                                                                   ployed:                                                    prior to the submission for payment of
                                                                     (i) Express written authorization by                     the customer’s or donor’s billing infor-
                                                                   the customer or donor, which includes                      mation, and that includes all of the in-
                                                                   the customer’s or donor’s signature;663                    formation              contained        in
                                                                     (ii) Express oral authorization which                    §§ 310.3(a)(3)(ii)(A)-(G) and a clear and
                                                                   is audio-recorded and made available                       conspicuous statement of the proce-
                                                                   upon request to the customer or donor,                     dures by which the customer or donor
                                                                   and the customer’s or donor’s bank or                      can obtain a refund from the seller or
                                                                   other billing entity, and which evi-                       telemarketer or charitable organiza-
                                                                   dences clearly both the customer’s or                      tion in the event the confirmation is
                                                                                                                              inaccurate; provided, however, that
                                                                      661 Truth in Lending Act, 15 U.S.C. 1601 et             this means of authorization shall not
                                                                   seq., and Regulation Z, 12 CFR part 226.                   be deemed verifiable in instances in
                                                                      662 Electronic Fund Transfer Act, 15 U.S.C.             which goods or services are offered in a
                                                                   1693 et seq., and Regulation E, 12 CFR part                transaction involving a free-to-pay
                                                                   205.                                                       conversion and preacquired account in-
                                                                      663 For purposes of this Rule, the term
                                                                                                                              formation.
                                                                   ‘‘signature’’ shall include an electronic or
                                                                   digital form of signature, to the extent that                 (4) Making a false or misleading
                                                                                                                              statement to induce any person to pay
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                                                                   such form of signature is recognized as a
                                                                   valid signature under applicable federal law               for goods or services or to induce a
                                                                   or state contract law.                                     charitable contribution.

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                                                                      (b) Assisting and facilitating. It is a de-             a charitable organization or to any
                                                                   ceptive telemarketing act or practice                      particular charitable program;
                                                                   and a violation of this Rule for a per-                      (5) Any material aspect of a prize
                                                                   son to provide substantial assistance or                   promotion including, but not limited
                                                                   support to any seller or telemarketer                      to: the odds of being able to receive a
                                                                   when that person knows or consciously                      prize; the nature or value of a prize; or
                                                                   avoids knowing that the seller or tele-                    that a charitable contribution is re-
                                                                   marketer is engaged in any act or prac-                    quired to win a prize or to participate
                                                                   tice that violates §§ 310.3(a), (c) or (d),                in a prize promotion; or
                                                                   or § 310.4 of this Rule.                                     (6) A charitable organization’s or
                                                                      (c) Credit card laundering. Except as                   telemarketer’s affiliation with, or en-
                                                                   expressly permitted by the applicable                      dorsement or sponsorship by, any per-
                                                                   credit card system, it is a deceptive                      son or government entity.
                                                                   telemarketing act or practice and a
                                                                   violation of this Rule for:                                [75 FR 48516, Aug. 10, 2010, as amended at 80
                                                                                                                              FR 77558, Dec. 14, 2015]
                                                                      (1) A merchant to present to or de-
                                                                   posit into, or cause another to present                    § 310.4 Abusive telemarketing acts or
                                                                   to or deposit into, the credit card sys-                       practices.
                                                                   tem for payment, a credit card sales
                                                                   draft generated by a telemarketing                           (a) Abusive conduct generally. It is an
                                                                   transaction that is not the result of a                    abusive telemarketing act or practice
                                                                   telemarketing credit card transaction                      and a violation of this Rule for any
                                                                   between the cardholder and the mer-                        seller or telemarketer to engage in the
                                                                   chant;                                                     following conduct:
                                                                      (2) Any person to employ, solicit, or                     (1) Threats, intimidation, or the use
                                                                   otherwise cause a merchant, or an em-                      of profane or obscene language;
                                                                   ployee, representative, or agent of the                      (2) Requesting or receiving payment
                                                                   merchant, to present to or deposit into                    of any fee or consideration for goods or
                                                                   the credit card system for payment, a                      services represented to remove deroga-
                                                                   credit card sales draft generated by a                     tory information from, or improve, a
                                                                   telemarketing transaction that is not                      person’s credit history, credit record,
                                                                   the result of a telemarketing credit                       or credit rating until:
                                                                   card transaction between the card-                           (i) The time frame in which the seller
                                                                   holder and the merchant; or                                has represented all of the goods or
                                                                      (3) Any person to obtain access to the                  services will be provided to that person
                                                                   credit card system through the use of a                    has expired; and
                                                                   business relationship or an affiliation                      (ii) The seller has provided the person
                                                                   with a merchant, when such access is                       with documentation in the form of a
                                                                   not authorized by the merchant agree-                      consumer report from a consumer re-
                                                                   ment or the applicable credit card sys-                    porting agency demonstrating that the
                                                                   tem.                                                       promised results have been achieved,
                                                                      (d) Prohibited deceptive acts or prac-                  such report having been issued more
                                                                   tices in the solicitation of charitable con-               than six months after the results were
                                                                   tributions. It is a fraudulent charitable                  achieved. Nothing in this Rule should
                                                                   solicitation, a deceptive telemarketing                    be construed to affect the requirement
                                                                   act or practice, and a violation of this                   in the Fair Credit Reporting Act, 15
                                                                   Rule for any telemarketer soliciting                       U.S.C. 1681, that a consumer report
                                                                   charitable contributions to misrepre-                      may only be obtained for a specified
                                                                   sent, directly or by implication, any of                   permissible purpose;
                                                                   the following material information:                          (3) Requesting or receiving payment
                                                                      (1) The nature, purpose, or mission of                  of any fee or consideration from a per-
                                                                   any entity on behalf of which a chari-                     son for goods or services represented to
                                                                   table contribution is being requested;                     recover or otherwise assist in the re-
                                                                      (2) That any charitable contribution                    turn of money or any other item of
                                                                   is tax deductible in whole or in part;                     value paid for by, or promised to, that
                                                                      (3) The purpose for which any chari-                    person in a previous transaction, until
                                                                   table contribution will be used;                           seven (7) business days after such
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                                                                      (4) The percentage or amount of any                     money or other item is delivered to
                                                                   charitable contribution that will go to                    that person. This provision shall not

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                                                                   § 310.4                                                                  16 CFR Ch. I (1–1–21 Edition)

                                                                   apply to goods or services provided to a                     (A) The funds are held in an account
                                                                   person by a licensed attorney;                             at an insured financial institution;
                                                                     (4) Requesting or receiving payment                        (B) The customer owns the funds held
                                                                   of any fee or consideration in advance                     in the account and is paid accrued in-
                                                                   of obtaining a loan or other extension                     terest on the account, if any;
                                                                   of credit when the seller or tele-                           (C) The entity administering the ac-
                                                                   marketer has guaranteed or rep-                            count is not owned or controlled by, or
                                                                   resented a high likelihood of success in                   in any way affiliated with, the debt re-
                                                                   obtaining or arranging a loan or other                     lief service;
                                                                   extension of credit for a person;                            (D) The entity administering the ac-
                                                                     (5)(i) Requesting or receiving pay-                      count does not give or accept any
                                                                   ment of any fee or consideration for                       money or other compensation in ex-
                                                                   any debt relief service until and unless:                  change for referrals of business involv-
                                                                     (A) The seller or telemarketer has re-                   ing the debt relief service; and
                                                                   negotiated, settled, reduced, or other-                      (E) The customer may withdraw from
                                                                   wise altered the terms of at least one                     the debt relief service at any time
                                                                   debt pursuant to a settlement agree-                       without penalty, and must receive all
                                                                   ment, debt management plan, or other                       funds in the account, other than funds
                                                                   such valid contractual agreement exe-                      earned by the debt relief service in
                                                                   cuted by the customer;                                     compliance       with    § 310.4(a)(5)(i)(A)
                                                                     (B) The customer has made at least                       through (C), within seven (7) business
                                                                   one payment pursuant to that settle-                       days of the customer’s request.
                                                                   ment agreement, debt management                              (6) Disclosing or receiving, for con-
                                                                   plan, or other valid contractual agree-                    sideration, unencrypted consumer ac-
                                                                   ment between the customer and the                          count numbers for use in tele-
                                                                   creditor or debt collector; and                            marketing; provided, however, that
                                                                     (C) To the extent that debts enrolled                    this paragraph shall not apply to the
                                                                   in a service are renegotiated, settled,                    disclosure or receipt of a customer’s or
                                                                   reduced, or otherwise altered individ-                     donor’s billing information to process a
                                                                   ually, the fee or consideration either:                    payment for goods or services or a
                                                                     (1) Bears the same proportional rela-                    charitable contribution pursuant to a
                                                                   tionship to the total fee for renegoti-                    transaction;
                                                                   ating, settling, reducing, or altering                       (7) Causing billing information to be
                                                                   the terms of the entire debt balance as                    submitted for payment, directly or in-
                                                                   the individual debt amount bears to                        directly, without the express informed
                                                                   the entire debt amount. The individual                     consent of the customer or donor. In
                                                                   debt amount and the entire debt                            any telemarketing transaction, the
                                                                   amount are those owed at the time the                      seller or telemarketer must obtain the
                                                                   debt was enrolled in the service; or                       express informed consent of the cus-
                                                                     (2) Is a percentage of the amount                        tomer or donor to be charged for the
                                                                   saved as a result of the renegotiation,                    goods or services or charitable con-
                                                                   settlement, reduction, or alteration.                      tribution and to be charged using the
                                                                   The percentage charged cannot change                       identified account. In any tele-
                                                                   from one individual debt to another.                       marketing       transaction      involving
                                                                   The amount saved is the difference be-                     preacquired account information, the
                                                                   tween the amount owed at the time the                      requirements in paragraphs (a)(7)(i)
                                                                   debt was enrolled in the service and the                   through (ii) of this section must be met
                                                                   amount actually paid to satisfy the                        to evidence express informed consent.
                                                                   debt.                                                        (i) In any telemarketing transaction
                                                                     (ii) Nothing in § 310.4(a)(5)(i) prohibits               involving preacquired account informa-
                                                                   requesting or requiring the customer                       tion and a free-to-pay conversion fea-
                                                                   to place funds in an account to be used                    ture, the seller or telemarketer must:
                                                                   for the debt relief provider’s fees and                      (A) Obtain from the customer, at a
                                                                   for payments to creditors or debt col-                     minimum, the last four (4) digits of the
                                                                   lectors in connection with the renego-                     account number to be charged;
                                                                   tiation, settlement, reduction, or other                     (B) Obtain from the customer his or
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                                                                   alteration of the terms of payment or                      her express agreement to be charged
                                                                   other terms of a debt, provided that:                      for the goods or services and to be

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                                                                   charged using the account number pur-                      to cause a telemarketer to engage in,
                                                                   suant to paragraph (a)(7)(i)(A) of this                    the following conduct:
                                                                   section; and,                                                (i) Causing any telephone to ring, or
                                                                     (C) Make and maintain an audio re-                       engaging any person in telephone con-
                                                                   cording of the entire telemarketing                        versation, repeatedly or continuously
                                                                   transaction.                                               with intent to annoy, abuse, or harass
                                                                     (ii) In any other telemarketing trans-                   any person at the called number;
                                                                   action involving preacquired account                         (ii) Denying or interfering in any
                                                                   information not described in paragraph                     way, directly or indirectly, with a per-
                                                                   (a)(7)(i) of this section, the seller or                   son’s right to be placed on any registry
                                                                   telemarketer must:                                         of names and/or telephone numbers of
                                                                                                                              persons who do not wish to receive out-
                                                                     (A) At a minimum, identify the ac-
                                                                                                                              bound telephone calls established to
                                                                   count to be charged with sufficient
                                                                                                                              comply with paragraph (b)(1)(iii)(A) of
                                                                   specificity for the customer or donor to                   this section, including, but not limited
                                                                   understand what account will be                            to, harassing any person who makes
                                                                   charged; and                                               such a request; hanging up on that per-
                                                                     (B) Obtain from the customer or                          son; failing to honor the request; re-
                                                                   donor his or her express agreement to                      quiring the person to listen to a sales
                                                                   be charged for the goods or services                       pitch before accepting the request; as-
                                                                   and to be charged using the account                        sessing a charge or fee for honoring the
                                                                   number identified pursuant to para-                        request; requiring a person to call a
                                                                   graph (a)(7)(ii)(A) of this section;                       different number to submit the re-
                                                                     (8) Failing to transmit or cause to be                   quest; and requiring the person to iden-
                                                                   transmitted the telephone number,                          tify the seller making the call or on
                                                                   and, when made available by the tele-                      whose behalf the call is made;
                                                                   marketer’s carrier, the name of the                          (iii) Initiating any outbound tele-
                                                                   telemarketer, to any caller identifica-                    phone call to a person when:
                                                                   tion service in use by a recipient of a                      (A) That person previously has stated
                                                                   telemarketing call; provided that it                       that he or she does not wish to receive
                                                                   shall not be a violation to substitute                     an outbound telephone call made by or
                                                                   (for the name and phone number used                        on behalf of the seller whose goods or
                                                                   in, or billed for, making the call) the                    services are being offered or made on
                                                                   name of the seller or charitable organi-                   behalf of the charitable organization
                                                                   zation on behalf of which a tele-                          for which a charitable contribution is
                                                                   marketing call is placed, and the sell-                    being solicited; or
                                                                   er’s or charitable organization’s cus-                       (B) That person’s telephone number
                                                                   tomer or donor service telephone num-                      is on the ‘‘do-not-call’’ registry, main-
                                                                   ber, which is answered during regular                      tained by the Commission, of persons
                                                                   business hours;                                            who do not wish to receive outbound
                                                                     (9) Creating or causing to be created,                   telephone calls to induce the purchase
                                                                   directly or indirectly, a remotely cre-                    of goods or services unless the seller or
                                                                   ated payment order as payment for                          telemarketer:
                                                                   goods or services offered or sold                            (1) Can demonstrate that the seller
                                                                   through telemarketing or as a chari-                       has obtained the express agreement, in
                                                                   table contribution solicited or sought                     writing, of such person to place calls to
                                                                   through telemarketing; or                                  that person. Such written agreement
                                                                                                                              shall clearly evidence such person’s au-
                                                                     (10) Accepting from a customer or
                                                                                                                              thorization that calls made by or on
                                                                   donor, directly or indirectly, a cash-to-
                                                                                                                              behalf of a specific party may be placed
                                                                   cash money transfer or cash reload
                                                                                                                              to that person, and shall include the
                                                                   mechanism as payment for goods or                          telephone number to which the calls
                                                                   services offered or sold through tele-                     may be placed and the signature 664 of
                                                                   marketing or as a charitable contribu-
                                                                                                                              that person; or
                                                                   tion solicited or sought through tele-
                                                                   marketing.                                                    664 For purposes of this Rule, the term
                                                                     (b) Pattern of calls. (1) It is an abusive               ‘‘signature’’ shall include an electronic or
                                                                   telemarketing act or practice and a
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                                                                                                                              digital form of signature, to the extent that
                                                                   violation of this Rule for a tele-                         such form of signature is recognized as a
                                                                   marketer to engage in, or for a seller                                                         Continued


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                                                                      (2) Can demonstrate that the seller                        (ii) Within two (2) seconds after the
                                                                   has an established business relation-                      completed greeting of the person
                                                                   ship with such person, and that person                     called, plays a prerecorded message
                                                                   has not stated that he or she does not                     that promptly provides the disclosures
                                                                   wish to receive outbound telephone                         required by § 310.4(d) or (e), followed
                                                                   calls under paragraph (b)(1)(iii)(A) of                    immediately by a disclosure of one or
                                                                   this section; or                                           both of the following:
                                                                      (iv) Abandoning any outbound tele-                         (A) In the case of a call that could be
                                                                   phone call. An outbound telephone call                     answered in person by a consumer, that
                                                                   is ‘‘abandoned’’ under this section if a                   the person called can use an automated
                                                                   person answers it and the telemarketer                     interactive voice and/or keypress-acti-
                                                                   does not connect the call to a sales rep-                  vated opt-out mechanism to assert a
                                                                   resentative within two (2) seconds of                      Do Not Call request pursuant to
                                                                   the person’s completed greeting.                           § 310.4(b)(1)(iii)(A) at any time during
                                                                      (v) Initiating any outbound telephone                   the message. The mechanism must:
                                                                   call that delivers a prerecorded mes-                         (1) Automatically add the number
                                                                   sage, other than a prerecorded message                     called to the seller’s entity-specific Do
                                                                   permitted for compliance with the call                     Not Call list;
                                                                   abandonment           safe  harbor      in                    (2) Once invoked, immediately dis-
                                                                   § 310.4(b)(4)(iii), unless:                                connect the call; and
                                                                      (A) In any such call to induce the                         (3) Be available for use at any time
                                                                   purchase of any good or service, the                       during the message; and
                                                                   seller has obtained from the recipient                        (B) In the case of a call that could be
                                                                   of the call an express agreement, in                       answered by an answering machine or
                                                                   writing, that:                                             voicemail service, that the person
                                                                      (i) The seller obtained only after a                    called can use a toll-free telephone
                                                                   clear and conspicuous disclosure that                      number to assert a Do Not Call request
                                                                   the purpose of the agreement is to au-                     pursuant to § 310.4(b)(1)(iii)(A). The
                                                                   thorize the seller to place prerecorded                    number provided must connect directly
                                                                   calls to such person;                                      to an automated interactive voice or
                                                                      (ii) The seller obtained without re-                    keypress-activated opt-out mechanism
                                                                   quiring, directly or indirectly, that the                  that:
                                                                   agreement be executed as a condition                          (1) Automatically adds the number
                                                                   of purchasing any good or service;                         called to the seller’s entity-specific Do
                                                                      (iii) Evidences the willingness of the                  Not Call list;
                                                                   recipient of the call to receive calls                        (2)    Immediately      thereafter dis-
                                                                   that deliver prerecorded messages by                       connects the call; and
                                                                   or on behalf of a specific seller; and                        (3) Is accessible at any time through-
                                                                      (iv) Includes such person’s telephone                   out the duration of the telemarketing
                                                                   number and signature;665 and                               campaign; and
                                                                      (B) In any such call to induce the                         (iii) Complies with all other require-
                                                                   purchase of any good or service, or to                     ments of this part and other applicable
                                                                   induce a charitable contribution from a                    federal and state laws.
                                                                   member of, or previous donor to, a non-                       (C) Any call that complies with all
                                                                   profit charitable organization on whose                    applicable requirements of this para-
                                                                   behalf the call is made, the seller or                     graph (v) shall not be deemed to violate
                                                                   telemarketer:                                              § 310.4(b)(1)(iv) of this part.
                                                                      (i) Allows the telephone to ring for at                    (D) This paragraph (v) shall not apply
                                                                   least fifteen (15) seconds or four (4)                     to any outbound telephone call that de-
                                                                   rings before disconnecting an unan-                        livers a prerecorded healthcare mes-
                                                                   swered call; and                                           sage made by, or on behalf of, a covered
                                                                                                                              entity or its business associate, as
                                                                   valid signature under applicable federal law               those terms are defined in the HIPAA
                                                                   or state contract law.                                     Privacy Rule, 45 CFR 160.103.
                                                                      665 For purposes of this Rule, the term

                                                                   ‘‘signature’’ shall include an electronic or
                                                                                                                                 (2) It is an abusive telemarketing act
                                                                   digital form of signature, to the extent that              or practice and a violation of this Rule
                                                                                                                              for any person to sell, rent, lease, pur-
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                                                                   such form of signature is recognized as a
                                                                   valid signature under applicable federal law               chase, or use any list established to
                                                                   or state contract law.                                     comply with § 310.4(b)(1)(iii)(A), or

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                                                                   maintained by the Commission pursu-                        day period or portion thereof that the
                                                                   ant to § 310.4(b)(1)(iii)(B), for any pur-                 campaign continues.
                                                                   pose except compliance with the provi-                        (ii) The seller or telemarketer, for
                                                                   sions of this Rule or otherwise to pre-                    each telemarketing call placed, allows
                                                                   vent telephone calls to telephone num-                     the telephone to ring for at least fif-
                                                                   bers on such lists.                                        teen (15) seconds or four (4) rings before
                                                                      (3) A seller or telemarketer will not                   disconnecting an unanswered call;
                                                                   be liable for violating § 310.4(b)(1)(ii)                     (iii) Whenever a sales representative
                                                                   and (iii) if it can demonstrate that, as                   is not available to speak with the per-
                                                                   part of the seller’s or telemarketer’s                     son answering the call within two (2)
                                                                   routine business practice:                                 seconds after the person’s completed
                                                                      (i) It has established and imple-                       greeting, the seller or telemarketer
                                                                   mented written procedures to comply                        promptly plays a recorded message
                                                                   with § 310.4(b)(1)(ii) and (iii);                          that states the name and telephone
                                                                      (ii) It has trained its personnel, and                  number of the seller on whose behalf
                                                                   any entity assisting in its compliance,                    the call was placed666; and
                                                                   in the procedures established pursuant                        (iv) The seller or telemarketer, in ac-
                                                                   to § 310.4(b)(3)(i);                                       cordance with § 310.5(b)-(d), retains
                                                                      (iii) The seller, or a telemarketer or                  records establishing compliance with
                                                                   another person acting on behalf of the                     § 310.4(b)(4)(i)-(iii).
                                                                   seller or charitable organization, has                        (c) Calling time restrictions. Without
                                                                   maintained and recorded a list of tele-                    the prior consent of a person, it is an
                                                                   phone numbers the seller or charitable                     abusive telemarketing act or practice
                                                                   organization may not contact, in com-                      and a violation of this Rule for a tele-
                                                                   pliance with § 310.4(b)(1)(iii)(A);                        marketer to engage in outbound tele-
                                                                      (iv) The seller or a telemarketer uses                  phone calls to a person’s residence at
                                                                   a process to prevent telemarketing to                      any time other than between 8:00 a.m.
                                                                   any telephone number on any list es-                       and 9:00 p.m. local time at the called
                                                                   tablished pursuant to § 310.4(b)(3)(iii) or                person’s location.
                                                                   310.4(b)(1)(iii)(B), employing a version                      (d) Required oral disclosures in the sale
                                                                   of the ‘‘do-not-call’’ registry obtained                   of goods or services. It is an abusive tele-
                                                                   from the Commission no more than                           marketing act or practice and a viola-
                                                                   thirty-one (31) days prior to the date                     tion of this Rule for a telemarketer in
                                                                   any call is made, and maintains                            an outbound telephone call or internal
                                                                   records documenting this process;                          or external upsell to induce the pur-
                                                                                                                              chase of goods or services to fail to dis-
                                                                      (v) The seller or a telemarketer or
                                                                                                                              close truthfully, promptly, and in a
                                                                   another person acting on behalf of the
                                                                                                                              clear and conspicuous manner to the
                                                                   seller or charitable organization, mon-
                                                                                                                              person receiving the call, the following
                                                                   itors and enforces compliance with the
                                                                                                                              information:
                                                                   procedures established pursuant to
                                                                                                                                 (1) The identity of the seller;
                                                                   § 310.4(b)(3)(i); and
                                                                                                                                 (2) That the purpose of the call is to
                                                                      (vi) Any subsequent call otherwise
                                                                                                                              sell goods or services;
                                                                   violating paragraph (b)(1)(ii) or (iii) of                    (3) The nature of the goods or serv-
                                                                   this section is the result of error and                    ices; and
                                                                   not of failure to obtain any informa-                         (4) That no purchase or payment is
                                                                   tion necessary to comply with a re-                        necessary to be able to win a prize or
                                                                   quest       pursuant      to      paragraph                participate in a prize promotion if a
                                                                   (b)(1)(iii)(A) of this section not to re-                  prize promotion is offered and that any
                                                                   ceive further calls by or on behalf of a                   purchase or payment will not increase
                                                                   seller or charitable organization.                         the person’s chances of winning. This
                                                                      (4) A seller or telemarketer will not                   disclosure must be made before or in
                                                                   be liable for violating § 310.4(b)(1)(iv) if:              conjunction with the description of the
                                                                      (i) The seller or telemarketer em-                      prize to the person called. If requested
                                                                   ploys technology that ensures aban-
                                                                   donment of no more than three (3) per-                       666 This provision does not affect any sell-
                                                                   cent of all calls answered by a person,                    er’s or telemarketer’s obligation to comply
                                                                   measured over the duration of a single
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                                                                                                                              with relevant state and federal laws, includ-
                                                                   calling campaign, if less than 30 days,                    ing but not limited to the TCPA, 47 U.S.C.
                                                                   or separately over each successive 30-                     227, and 47 CFR part 64.1200.

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                                                                   by that person, the telemarketer must                      telephone number, and the job title(s)
                                                                   disclose the no-purchase/no-payment                        for all current and former employees
                                                                   entry method for the prize promotion;                      directly involved in telephone sales or
                                                                   provided, however, that, in any inter-                     solicitations; provided, however, that if
                                                                   nal upsell for the sale of goods or serv-                  the seller or telemarketer permits fic-
                                                                   ices, the seller or telemarketer must                      titious names to be used by employees,
                                                                   provide the disclosures listed in this                     each fictitious name must be traceable
                                                                   section only to the extent that the in-                    to only one specific employee; and
                                                                   formation in the upsell differs from the                      (5) All verifiable authorizations or
                                                                   disclosures provided in the initial tele-
                                                                                                                              records of express informed consent or
                                                                   marketing transaction.
                                                                                                                              express agreement required to be pro-
                                                                     (e) Required oral disclosures in chari-
                                                                   table solicitations. It is an abusive tele-                vided or received under this Rule.
                                                                   marketing act or practice and a viola-                        (b) A seller or telemarketer may
                                                                   tion of this Rule for a telemarketer, in                   keep the records required by § 310.5(a)
                                                                   an outbound telephone call to induce a                     in any form, and in the same manner,
                                                                   charitable contribution, to fail to dis-                   format, or place as they keep such
                                                                   close truthfully, promptly, and in a                       records in the ordinary course of busi-
                                                                   clear and conspicuous manner to the                        ness. Failure to keep all records re-
                                                                   person receiving the call, the following                   quired by § 310.5(a) shall be a violation
                                                                   information:                                               of this Rule.
                                                                     (1) The identity of the charitable or-                      (c) The seller and the telemarketer
                                                                   ganization on behalf of which the re-                      calling on behalf of the seller may, by
                                                                   quest is being made; and                                   written agreement, allocate responsi-
                                                                     (2) That the purpose of the call is to                   bility between themselves for the rec-
                                                                   solicit a charitable contribution.                         ordkeeping required by this Section.
                                                                   [75 FR 48516, Aug. 10, 2010, as amended at 76              When a seller and telemarketer have
                                                                   FR 58716, Sept. 22, 2011; 80 FR 77559, Dec. 14,            entered into such an agreement, the
                                                                   2015]                                                      terms of that agreement shall govern,
                                                                                                                              and the seller or telemarketer, as the
                                                                   § 310.5 Recordkeeping requirements.                        case may be, need not keep records
                                                                      (a) Any seller or telemarketer shall                    that duplicate those of the other. If the
                                                                   keep, for a period of 24 months from                       agreement is unclear as to who must
                                                                   the date the record is produced, the fol-                  maintain any required record(s), or if
                                                                   lowing records relating to its tele-                       no such agreement exists, the seller
                                                                   marketing activities:                                      shall be responsible for complying with
                                                                      (1) All substantially different adver-                  §§ 310.5(a)(1)-(3) and (5); the tele-
                                                                   tising,     brochures,     telemarketing                   marketer shall be responsible for com-
                                                                   scripts, and promotional materials;                        plying with § 310.5(a)(4).
                                                                      (2) The name and last known address
                                                                                                                                 (d) In the event of any dissolution or
                                                                   of each prize recipient and the prize
                                                                                                                              termination of the seller’s or tele-
                                                                   awarded for prizes that are rep-
                                                                   resented, directly or by implication, to                   marketer’s business, the principal of
                                                                   have a value of $25.00 or more;                            that seller or telemarketer shall main-
                                                                      (3) The name and last known address                     tain all records as required under this
                                                                   of each customer, the goods or services                    section. In the event of any sale, as-
                                                                   purchased, the date such goods or serv-                    signment, or other change in ownership
                                                                   ices were shipped or provided, and the                     of the seller’s or telemarketer’s busi-
                                                                   amount paid by the customer for the                        ness, the successor business shall main-
                                                                   goods or services;667                                      tain all records required under this sec-
                                                                      (4) The name, any fictitious name                       tion.
                                                                   used, the last known home address and
                                                                                                                              § 310.6     Exemptions.
                                                                      667
                                                                        For offers of consumer credit products                   (a) Solicitations to induce charitable
                                                                   subject to the Truth in Lending Act, 15                    contributions via outbound telephone
                                                                   U.S.C. 1601 et seq., and Regulation Z, 12 CFR
                                                                                                                              calls      are       not      covered by
                                                                   226, compliance with the recordkeeping re-
                                                                                                                              § 310.4(b)(1)(iii)(B) of this Rule.
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                                                                   quirements under the Truth in Lending Act,
                                                                   and Regulation Z, shall constitute compli-                    (b) The following acts or practices
                                                                   ance with § 310.5(a)(3) of this Rule.                      are exempt from this Rule:

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                                                                      (1) The sale of pay-per-call services                      (iii) Any instances of upselling in-
                                                                   subject to the Commission’s Rule enti-                     cluded in such telephone calls;
                                                                   tled ‘‘Trade Regulation Rule Pursuant                         (6) Telephone calls initiated by a cus-
                                                                   to the Telephone Disclosure and Dis-                       tomer or donor in response to a direct
                                                                   pute Resolution Act of 1992,’’ 16 CFR                      mail solicitation, including solicita-
                                                                   part 308, provided, however, that this                     tions via the U.S. Postal Service, fac-
                                                                   exemption does not apply to the re-                        simile transmission, electronic mail,
                                                                   quirements of §§ 310.4(a)(1), (a)(7), (b),                 and other similar methods of delivery
                                                                   and (c);                                                   in which a solicitation is directed to
                                                                      (2) The sale of franchises subject to                   specific address(es) or person(s), that
                                                                   the Commission’s Rule entitled ‘‘Dis-                      clearly, conspicuously, and truthfully
                                                                   closure Requirements and Prohibitions                      discloses all material information list-
                                                                   Concerning Franchising,’’ (‘‘Franchise                     ed in § 310.3(a)(1), for any goods or serv-
                                                                   Rule’’) 16 CFR part 436, and the sale of                   ices offered in the direct mail solicita-
                                                                   business opportunities subject to the                      tion, and that contains no material
                                                                   Commission’s Rule entitled ‘‘Disclo-                       misrepresentation regarding any item
                                                                   sure Requirements and Prohibitions                         contained in § 310.3(d) for any requested
                                                                   Concerning Business Opportunities,’’                       charitable contribution; provided, how-
                                                                   (‘‘Business Opportunity Rule’’) 16 CFR                     ever, that this exemption does not
                                                                   part 437, provided, however, that this                     apply to:
                                                                   exemption does not apply to the re-                           (i) Calls initiated by a customer in
                                                                   quirements of §§ 310.4(a)(1), (a)(7), (b),                 response to a direct mail solicitation
                                                                   and (c);                                                   relating to prize promotions, invest-
                                                                      (3) Telephone calls in which the sale                   ment opportunities, debt relief serv-
                                                                   of goods or services or charitable solic-                  ices, business opportunities other than
                                                                   itation is not completed, and payment                      business arrangements covered by the
                                                                   or authorization of payment is not re-                     Franchise Rule or Business Oppor-
                                                                   quired, until after a face-to-face sales                   tunity Rule, or goods or services de-
                                                                   or donation presentation by the seller                     scribed in § 310.3(a)(1)(vi) or § 310.4(a)(2)
                                                                   or charitable organization, provided,                      through (4);
                                                                   however, that this exemption does not                         (ii) The requirements of § 310.4(a)(9)
                                                                   apply      to     the     requirements  of                 or (10); or
                                                                   §§ 310.4(a)(1), (a)(7), (b), and (c);                         (iii) Any instances of upselling in-
                                                                      (4) Telephone calls initiated by a cus-                 cluded in such telephone calls; and
                                                                   tomer or donor that are not the result                        (7) Telephone calls between a tele-
                                                                   of any solicitation by a seller, chari-                    marketer and any business to induce
                                                                   table organization, or telemarketer,                       the purchase of goods or services or a
                                                                   provided, however, that this exemption                     charitable contribution by the busi-
                                                                   does not apply to any instances of                         ness, except calls to induce the retail
                                                                   upselling included in such telephone                       sale of nondurable office or cleaning
                                                                   calls;                                                     supplies;     provided,    however,     that
                                                                      (5) Telephone calls initiated by a cus-                 §§ 310.4(b)(1)(iii)(B) and 310.5 shall not
                                                                   tomer or donor in response to an adver-                    apply to sellers or telemarketers of
                                                                   tisement through any medium, other                         nondurable office or cleaning supplies.
                                                                   than direct mail solicitation, provided,                   [75 FR 48516, Aug. 10, 2010, as amended at 80
                                                                   however, that this exemption does not                      FR 77559, Dec. 14, 2015]
                                                                   apply to:
                                                                      (i) Calls initiated by a customer or                    § 310.7 Actions by states and private
                                                                   donor in response to an advertisement                           persons.
                                                                   relating to investment opportunities,                         (a) Any attorney general or other of-
                                                                   debt relief services, business opportuni-                  ficer of a state authorized by the state
                                                                   ties other than business arrangements                      to bring an action under the Tele-
                                                                   covered by the Franchise Rule or Busi-                     marketing and Consumer Fraud and
                                                                   ness Opportunity Rule, or advertise-                       Abuse Prevention Act, and any private
                                                                   ments involving offers for goods or                        person who brings an action under that
                                                                   services described in § 310.3(a)(1)(vi) or                 Act, shall serve written notice of its
                                                                   § 310.4(a)(2) through (4);                                 action on the Commission, if feasible,
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                                                                      (ii) The requirements of § 310.4(a)(9)                  prior to its initiating an action under
                                                                   or (10); or                                                this Rule. The notice shall be sent to

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                                                                   § 310.8                                                                  16 CFR Ch. I (1–1–21 Edition)

                                                                   the Office of the Director, Bureau of                      Not Call Registry for any other pur-
                                                                   Consumer Protection, Federal Trade                         pose.
                                                                   Commission, Washington, DC 20580, and                         (c) The annual fee, which must be
                                                                   shall include a copy of the state’s or                     paid by any person prior to obtaining
                                                                   private person’s complaint and any                         access to the National Do Not Call
                                                                   other pleadings to be filed with the                       Registry, is $66 for each area code of
                                                                   court. If prior notice is not feasible,                    data accessed, up to a maximum of
                                                                   the state or private person shall serve                    $18,044; provided, however, that there
                                                                   the Commission with the required no-                       shall be no charge to any person for ac-
                                                                   tice immediately upon instituting its                      cessing the first five area codes of data,
                                                                   action.                                                    and provided further, that there shall be
                                                                     (b) Nothing contained in this Section                    no charge to any person engaging in or
                                                                   shall prohibit any attorney general or                     causing others to engage in outbound
                                                                   other authorized state official from                       telephone calls to consumers and who
                                                                   proceeding in state court on the basis                     is accessing area codes of data in the
                                                                   of an alleged violation of any civil or                    National Do Not Call Registry if the
                                                                   criminal statute of such state.                            person is permitted to access, but is
                                                                                                                              not required to access, the National Do
                                                                   § 310.8 Fee for access to the National                     Not Call Registry under this Rule, 47
                                                                       Do Not Call Registry.                                  CFR 64.1200, or any other Federal regu-
                                                                                                                              lation or law. No person may partici-
                                                                      (a) It is a violation of this Rule for
                                                                                                                              pate in any arrangement to share the
                                                                   any seller to initiate, or cause any
                                                                                                                              cost of accessing the National Do Not
                                                                   telemarketer to initiate, an outbound
                                                                                                                              Call Registry, including any arrange-
                                                                   telephone call to any person whose                         ment with any telemarketer or service
                                                                   telephone number is within a given                         provider to divide the costs to access
                                                                   area code unless such seller, either di-                   the registry among various clients of
                                                                   rectly or through another person, first                    that telemarketer or service provider.
                                                                   has paid the annual fee, required by                          (d) Each person who pays, either di-
                                                                   § 310.8(c), for access to telephone num-                   rectly or through another person, the
                                                                   bers within that area code that are in-                    annual fee set forth in paragraph (c) of
                                                                   cluded in the National Do Not Call                         this section, each person excepted
                                                                   Registry maintained by the Commis-                         under paragraph (c) from paying the
                                                                   sion under § 310.4(b)(1)(iii)(B); provided,                annual fee, and each person excepted
                                                                   however, that such payment is not nec-                     from paying an annual fee under
                                                                   essary if the seller initiates, or causes                  § 310.4(b)(1)(iii)(B), will be provided a
                                                                   a telemarketer to initiate, calls solely                   unique account number that will allow
                                                                   to         persons        pursuant       to                that person to access the registry data
                                                                   §§ 310.4(b)(1)(iii)(B)(i) or (ii), and the                 for the selected area codes at any time
                                                                   seller does not access the National Do                     for the twelve month period beginning
                                                                   Not Call Registry for any other pur-                       on the first day of the month in which
                                                                   pose.                                                      the person paid the fee (‘‘the annual pe-
                                                                      (b) It is a violation of this Rule for                  riod’’). To obtain access to additional
                                                                   any telemarketer, on behalf of any sell-                   area codes of data during the first six
                                                                   er, to initiate an outbound telephone                      months of the annual period, each per-
                                                                   call to any person whose telephone                         son required to pay the fee under para-
                                                                   number is within a given area code un-                     graph (c) of this section must first pay
                                                                   less that seller, either directly or                       $66 for each additional area code of
                                                                   through another person, first has paid                     data not initially selected. To obtain
                                                                   the annual fee, required by § 310.8(c),                    access to additional area codes of data
                                                                   for access to the telephone numbers                        during the second six months of the an-
                                                                   within that area code that are included                    nual period, each person required to
                                                                   in the National Do Not Call Registry;                      pay the fee under paragraph (c) of this
                                                                   provided, however, that such payment                       section must first pay $33 for each ad-
                                                                   is not necessary if the seller initiates,                  ditional area code of data not initially
                                                                   or causes a telemarketer to initiate,                      selected. The payment of the addi-
                                                                   calls solely to persons pursuant to                        tional fee will permit the person to ac-
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                                                                   §§ 310.4(b)(1)(iii)(B)(i) or (ii), and the                 cess the additional area codes of data
                                                                   seller does not access the National Do                     for the remainder of the annual period.

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                                                                   Federal Trade Commission                                                                          § 311.3

                                                                     (e) Access to the National Do Not                          SOURCE: 60 FR 55421, Oct. 31, 1995, unless
                                                                   Call Registry is limited to tele-                          otherwise noted.
                                                                   marketers, sellers, others engaged in or
                                                                   causing others to engage in telephone                      § 311.1     Definitions.
                                                                   calls to consumers, service providers                        As used in this part:
                                                                   acting on behalf of such persons, and                        (a) Manufacturer means any person
                                                                   any government agency that has law                         who re-refines or otherwise processes
                                                                   enforcement authority. Prior to access-                    used oil to remove physical or chem-
                                                                   ing the National Do Not Call Registry,                     ical impurities acquired through use or
                                                                   a person must provide the identifying                      who blends such re-refined or otherwise
                                                                   information required by the operator of                    processed used oil with new oil or addi-
                                                                   the registry to collect the fee, and                       tives.
                                                                   must certify, under penalty of law,                          (b) New oil means any synthetic oil or
                                                                   that the person is accessing the reg-                      oil that has been refined from crude oil
                                                                   istry solely to comply with the provi-                     and which has not been used and may
                                                                   sions of this Rule or to otherwise pre-
                                                                                                                              or may not contain additives. Such
                                                                   vent telephone calls to telephone num-
                                                                                                                              term does not include used oil or recy-
                                                                   bers on the registry. If the person is ac-
                                                                                                                              cled oil.
                                                                   cessing the registry on behalf of sell-
                                                                   ers, that person also must identify                          (c) Processed used oil means re-refined
                                                                   each of the sellers on whose behalf it is                  or otherwise processed used oil or blend
                                                                   accessing the registry, must provide                       of oil, consisting of such re-refined or
                                                                   each seller’s unique account number                        otherwise processed used oil and new
                                                                   for access to the national registry, and                   oil or additives.
                                                                   must certify, under penalty of law,                          (d) Recycled oil means processed used
                                                                   that the sellers will be using the infor-                  oil that the manufacturer has deter-
                                                                   mation gathered from the registry                          mined, pursuant to section 311.4 of this
                                                                   solely to comply with the provisions of                    part, is substantially equivalent to new
                                                                   this Rule or otherwise to prevent tele-                    oil for use as engine oil.
                                                                   phone calls to telephone numbers on                          (e) Used oil means any synthetic oil
                                                                   the registry.                                              or oil that has been refined from crude
                                                                                                                              oil, which has been used and, as a re-
                                                                   [75 FR 48516, Aug. 10, 2010; 75 FR 51934, Aug.
                                                                   24, 2010, as amended at 77 FR 51697, Aug. 27,              sult of such use, has been contami-
                                                                   2012; 78 FR 53643, Aug. 30, 2013; 79 FR 51478,             nated by physical or chemical impuri-
                                                                   Aug. 29, 2014; 80 FR 77560, Dec. 14, 2016; 81 FR           ties.
                                                                   59845, Aug. 31, 2016; 82 FR 39534, Aug. 21, 2017;            (f) Re-refined oil means used oil from
                                                                   83 FR 46640, Sept. 14, 2018; 84 FR 44687, Aug.             which physical and chemical contami-
                                                                   27, 2019; 85 FR 62597, Oct. 5, 2020]
                                                                                                                              nants acquired through use have been
                                                                   § 310.9 Severability.                                      removed.
                                                                      The provisions of this Rule are sepa-                   § 311.2     Stayed or invalid parts.
                                                                   rate and severable from one another. If
                                                                   any provision is stayed or determined                        If any part of this rule is stayed or
                                                                   to be invalid, it is the Commission’s in-                  held invalid, the rest of it will remain
                                                                   tention that the remaining provisions                      in force.
                                                                   shall continue in effect.
                                                                                                                              § 311.3     Preemption.
                                                                   PART 311—TEST PROCEDURES AND                                 No law, regulation, or order of any
                                                                     LABELING STANDARDS FOR RE-                               State or political subdivision thereof
                                                                                                                              may apply, or remain applicable, to
                                                                     CYCLED OIL
                                                                                                                              any container of recycled oil, if such
                                                                   Sec.
                                                                                                                              law, regulation, or order requires any
                                                                   311.1 Definitions.                                         container of recycled oil, which con-
                                                                   311.2 Stayed or invalid parts.                             tainer bears a label in accordance with
                                                                   311.3 Preemption.                                          the terms of § 311.5 of this part, to bear
                                                                   311.4 Testing.                                             any label with respect to the compara-
                                                                   311.5 Labeling.                                            tive characteristics of such recycled oil
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                                                                   311.6 Prohibited acts.                                     with new oil that is not identical to
                                                                      AUTHORITY: 42 U.S.C. 6363(d).                           that permitted by § 311.5 of this part.

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                            Attachment B
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      13 UT ST Ch. 26, Refs & Annos
      § 13–26–1. Short Title
      § 13–26–2. Definitions
      § 13–26–3. Registration and Bond Required
      § 13–26–4. Exemptions from Registration
      § 13–26–5. Right of Rescission—Cancellation
      § 13-26-6. Repealed by Laws 1994, C. 189, § 7, eff. May 2, 1994
      § 13-26-7. Repealed by Laws 1994, C. 189, § 7, eff. May 2, 1994
      § 13–26–8. Penalties
      § 13–26–9. Repealed by Laws 1994, C. 189, § 7, eff. May 2, 1994
      § 13–26–10. Provisions of Chapter Not Exclusive
      § 13–26–11. Prohibited Practices
      § 13–26–12. Consumer Complaints Are Public
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      Chapter 26. Telephone Fraud Prevention Act

                                       U.C.A. 1953 T. 13, Ch. 26, Refs & Annos
                                                    Currentness



 U.C.A. 1953 T. 13, Ch. 26, Refs & Annos, UT ST T. 13, Ch. 26, Refs & Annos
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 § 13-26-1. Short title, UT ST § 13-26-1
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      Chapter 26. Telephone Fraud Prevention Act (Refs & Annos)

                                                  U.C.A. 1953 § 13-26-1

                                                § 13-26-1. Short title

                                                       Currentness


 This chapter is known as the “Telephone Fraud Prevention Act.”


 Credits
 Laws 1990, c. 154, § 1.



 Notes of Decisions (5)

 U.C.A. 1953 § 13-26-1, UT ST § 13-26-1
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                                                      U.C.A. 1953 § 13-26-2

                                                    § 13-26-2. Definitions

                                                            Currentness


 As used in this chapter, unless the context otherwise requires:


 (1) “Continuity plan” means a shipment, with the prior express consent of the buyer, at regular intervals of similar special-
 interest products. A continuity plan is distinguished from a subscription arrangement by no binding commitment period or
 purchase amount.


 (2) “Division” means the Division of Consumer Protection.


 (3) “Fictitious personal name” means a name other than an individual's true name. An “individual's true name” is the name
 taken at birth unless changed by operation of law or by civil action.


 (4) “Material statement” or “material fact” means information that a person of ordinary intelligence or prudence would consider
 important in deciding whether or not to accept an offer extended through a telephone solicitation.


 (5) “Premium” means a gift, bonus, prize, award, certificate, or other document by which a prospective purchaser is given a
 right, chance, or privilege to purchase or receive goods or services with a stated or represented value of $25 or more as an
 inducement to a prospective purchaser to purchase other goods or services.


 (6) “Subscription arrangements,” “standing order arrangements,” “supplements,” and “series arrangements” mean products or
 services provided, with the prior express request or consent of the buyer, for a specified period of time at a price dependent on
 the duration of service and to complement an initial purchase.


 (7)(a) “Telephone solicitation,” “sale,” “selling,” or “solicitation of sale” means:


      (i) a sale or solicitation of goods or services in which:


        (A)(I) the seller solicits the sale over the telephone;


           (II) the purchaser's agreement to purchase is made over the telephone; and



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           (III) the purchaser, over the telephone, pays for or agrees to commit to payment for goods or services prior to or upon
           receipt by the purchaser of the goods or services;


        (B) the solicitor, not exempt under Section 13-26-4, induces a prospective purchaser over the telephone, to make and
        keep an appointment that directly results in the purchase of goods or services by the purchaser that would not have
        occurred without the telephone solicitation and inducement by the solicitor;


        (C) the seller offers or promises a premium to a prospective purchaser if:


           (I) the seller induces the prospective purchaser to initiate a telephone contact with the telephone soliciting business;
           and


           (II) the resulting solicitation meets the requirements of Subsection (7)(a); or


        (D) the solicitor solicits a charitable donation involving the exchange of any premium, prize, gift, ticket, subscription,
        or other benefit in connection with any appeal made for a charitable purpose by an organization that is not otherwise
        exempt under Subsection 13-26-4(2)(b)(iv); or


      (ii) a telephone solicitation as defined in Section 13-25a-102.


   (b) “Telephone solicitation,” “sale,” “selling,” or “solicitation of sale” does not include a sale or solicitation that occurs solely
   through an Internet website without the use of a telephone call.


   (c) A solicitation of sale or telephone solicitation is considered complete when made, whether or not the person receiving
   the solicitation agrees to the sale or to make a charitable donation.


 (8) “Telephone soliciting business” means a sole proprietorship, partnership, limited liability company, corporation, or other
 association of individuals engaged in a common effort to conduct telephone solicitations.


 (9) “Telephone solicitor” or “solicitor” means a person, partnership, limited liability company, corporation, or other entity that:


   (a) makes a telephone solicitation; or


   (b) causes a telephone solicitation to be made.


 Credits
 Laws 1990, c. 154, § 2; Laws 1993, c. 37, § 1; Laws 1994, c. 189, § 1; Laws 1995, c. 26, § 1, eff. May 1, 1995; Laws 1997,
 c. 92, § 2, eff. May 5, 1997; Laws 2004, c. 55, § 7, eff. March 15, 2004; Laws 2005, c. 18, § 13, eff. March 8, 2005; Laws
 2012, c. 152, § 4, eff. May 8, 2012.



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 U.C.A. 1953 § 13-26-2, UT ST § 13-26-2
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                                                      U.C.A. 1953 § 13-26-3

                                       § 13-26-3. Registration and bond required

                                                            Currentness


 (1)(a) Unless exempt under Section 13-26-4, each telephone soliciting business shall register annually with the division before
 engaging in telephone solicitations if:


      (i) the telephone soliciting business engages in telephone solicitations that:


        (A) originate in Utah; or


        (B) are received in Utah; or


      (ii) the telephone soliciting business conducts any business operations in Utah.


   (b) The registration form shall designate an agent residing in this state who is authorized by the telephone soliciting business
   to receive service of process in any action brought by this state or a resident of this state.


   (c) If a telephone soliciting business fails to designate an agent to receive service or fails to appoint a successor to the agent:


      (i) the business' application for an initial or renewal registration shall be denied; and


      (ii) any current registration shall be suspended until an agent is designated.


   (d)(i) For purposes of this section only, the registered agent of a telephone soliciting business shall provide the division proof
   of residency in the state.


      (ii) Proof of residency under Subsection (1)(d)(i) may be provided by a valid Utah driver license, valid governmental photo
      identification issued to a resident of the state, or other verifiable identification indicating residency in the state.


 (2) The division may impose an annual registration fee set pursuant to Section 63J-1-504 that may include the cost of the
 criminal background check described in Subsection (4).




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 (3)(a) Each telephone soliciting business engaging in telephone solicitation or sales in this state shall obtain and maintain the
 following security:


      (i) a performance bond issued by a surety authorized to transact surety business in this state;


      (ii) an irrevocable letter of credit issued by a financial institution authorized to do business in this state; or


      (iii) a certificate of deposit held in this state in a depository institution regulated by the Department of Financial Institutions.


   (b) The bond, letter of credit, or certificate of deposit shall be payable to the division for the benefit of any consumer who
   incurs damages as the result of any telephone solicitation or sales violation of this chapter.


   (c) The division may recover from the bond, letter of credit, or certificate of deposit investigative costs, attorney fees, and
   other costs of collecting and distributing funds under this section and the costs of promoting consumer education, but only
   if the consumer has first recovered full damages.


   (d) A telephone soliciting business shall keep a bond, certificate of deposit, or letter of credit in force for one year after it
   notifies the division in writing that it has ceased all activities regulated by this chapter.


   (e) The amount to be posted in the form of a bond, irrevocable letter of credit, or certificate of deposit shall be:


      (i) $25,000 if:


        (A) neither the telephone soliciting business nor any affiliated person has violated this chapter within three years
        preceding the date of the application; and


        (B) the telephone soliciting business has fewer than 10 employees;


      (ii) $50,000 if:


        (A) neither the telephone soliciting business nor any affiliated person has violated this chapter within three years
        preceding the date of the application; and


        (B) the telephone soliciting business has 10 or more employees; or


      (iii) $75,000 if the telephone soliciting business or any affiliated person has violated this chapter within three years
      preceding the date of the application.




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   (f) For purposes of Subsection (3)(e) an “affiliated person” means a contractor, director, employee, officer, owner, or partner
   of the telephone soliciting business.


 (4)(a) As used in this Subsection (4), “participant” means an individual with a controlling interest in or an owner, officer, director,
 member, principal, trustee, general partner, limited partner, manager, sole proprietor, or key employee of a person seeking to
 register or renew a registration as a telephone soliciting business.


   (b) As part of the process to register or renew a registration as a telephone soliciting business, a participant:


      (i) may not, within the previous 10 years, have been convicted of a felony;


      (ii) may not, within the previous 10 years, have been convicted of a misdemeanor involving moral turpitude, including
      theft, fraud, or dishonesty; and


      (iii) shall submit to the division:


         (A) the participant's fingerprints, in a form acceptable to the division, for purposes of a criminal background check; and


         (B) consent to a criminal background check by the Bureau of Criminal Identification created in Section 53-10-201.


 (5) The division may establish by rule the registration requirements for telephone soliciting businesses under the terms of Title
 63G, Chapter 3, Utah Administrative Rulemaking Act. An administrative proceeding conducted by the division under this
 chapter shall comply with the requirements of Title 63G, Chapter 4, Administrative Procedures Act.


 (6) If information in an application for registration or for renewal of registration as a telephone soliciting business materially
 changes or becomes incorrect or incomplete, the applicant shall, within 30 days after the information changes or becomes
 incorrect or incomplete, correct the application or submit the correct information to the division in a manner that the division
 establishes by rule.


 (7) The division director may deny or revoke a registration under this section for any violation of this chapter.


 Credits
 Laws 1990, c. 154, § 3; Laws 1993, c. 37, § 2; Laws 1994, c. 189, § 2; Laws 1994, c. 313, § 11; Laws 1999, c. 124, § 2, eff.
 March 17, 1999; Laws 2002, c. 122, § 2, eff. May 6, 2002; Laws 2005, c. 18, § 14, eff. March 8, 2005; Laws 2008, c. 382, §
 145, eff. May 5, 2008; Laws 2009, c. 183, § 21, eff. May 12, 2009; Laws 2013, c. 124, § 8, eff. May 14, 2013.


 U.C.A. 1953 § 13-26-3, UT ST § 13-26-3
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                                                        U.C.A. 1953 § 13-26-4

                                       § 13-26-4. Exemptions from registration

                                                             Currentness


 (1) In any enforcement action initiated by the division, the person claiming an exemption has the burden of proving that the
 person is entitled to the exemption.


 (2) The following are exempt from the requirements of this chapter except for the requirements of Sections 13-26-8 and
 13-26-11:


   (a) a broker, agent, dealer, or sales professional licensed under the licensure laws of this state, when soliciting sales within
   the scope of his license;


   (b) the solicitation of sales by:


     (i) a public utility that is regulated under Title 54, Public Utilities, or by an affiliate of the utility;


     (ii) a newspaper of general circulation;


     (iii) a solicitation of sales made by a broadcaster licensed by any state or federal authority;


     (iv) a nonprofit organization if no part of the net earnings from the sale inures to the benefit of any member, officer, trustee,
     or serving board member of the organization, or individual, or family member of an individual, holding a position of
     authority or trust in the organization; and


     (v) a person who periodically publishes and delivers a catalog of the solicitor's merchandise to prospective purchasers,
     if the catalog:


        (A) contains the price and a written description or illustration of each item offered for sale;


        (B) includes the business address of the solicitor;


        (C) includes at least 24 pages of written material and illustrations;


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        (D) is distributed in more than one state; and


        (E) has an annual circulation by mailing of not less than 250,000;


   (c) any publicly-traded corporation registered with the Securities and Exchange Commission, or any subsidiary of the
   corporation;


   (d) the solicitation of any depository institution as defined in Section 7-1-103, a subsidiary of a depository institution, personal
   property broker, securities broker, investment adviser, consumer finance lender, or insurer subject to regulation by an official
   agency of this state or the United States;


   (e) the solicitation by a person soliciting only the sale of telephone services to be provided by the person or the person's
   employer;


   (f) the solicitation of a person relating to a transaction regulated by the Commodities Futures Trading Commission, if:


     (i) the person is registered with or temporarily licensed by the commission to conduct that activity under the Commodity
     Exchange Act; and


     (ii) the registration or license has not expired or been suspended or revoked;


   (g) the solicitation of a contract for the maintenance or repair of goods previously purchased from the person:


     (i) who is making the solicitation; or


     (ii) on whose behalf the solicitation is made;


   (h) the solicitation of previous customers of the business on whose behalf the call is made if the person making the call:


     (i) does not offer any premium in conjunction with a sale or offer;


     (ii) is not selling an investment or an opportunity for an investment that is not registered with any state or federal authority;
     and


     (iii) is not regularly engaged in telephone sales;




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   (i) the solicitation of a sale that is an isolated transaction and not done in the course of a pattern of repeated transactions
   of a like nature;


   (j) the solicitation of a person by a retail business establishment that has been in operation for at least five years in Utah under
   the same name as that used in connection with telemarketing if both of the following occur on a continuing basis:


     (i) products are displayed and offered for sale at the place of business, or services are offered for sale and provided at
     the place of business; and


     (ii) a majority of the seller's business involves the buyer obtaining the products or services at the seller's place of business;


   (k) a person primarily soliciting the sale of a magazine or periodical sold by the publisher or the publisher's agent through a
   written agreement, or printed or recorded material through a contractual plan, such as a book or record club, continuity plan,
   subscription, standing order arrangement, or supplement or series arrangement if:


     (i) the seller provides the consumer with a form that the consumer may use to instruct the seller not to ship the offered
     merchandise, and the arrangement is regulated by the Federal Trade Commission trade regulation concerning use of
     negative option plans by sellers in commerce; or


     (ii)(A) the seller periodically ships merchandise to a consumer who has consented in advance to receive the merchandise
     on a periodic basis; and


        (B) the consumer retains the right to cancel at any time and receive a full refund for the unused portion;


   (l) a telephone marketing service company that provides telemarketing sales services under contract to sellers if:


     (i) it has been doing business regularly with customers in Utah for at least five years under the same business name and
     with its principal office in the same location;


     (ii) at least 75% of its contracts are performed on behalf of persons exempted from registration under this chapter; and


     (iii) neither the company nor its principals have been enjoined from doing business or subjected to criminal actions for
     their business activities in this or any other state;


   (m) a credit services organization that holds a current registration with the division under Chapter 21, Credit Services
   Organizations Act, if the credit services organization's telephone solicitations are limited to the solicitation of services
   regulated under Chapter 21, Credit Services Organizations Act; and




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   (n) a provider that holds a current registration with the division under Chapter 42, Uniform Debt-Management Services Act,
   if the provider's telephone solicitations are limited to the solicitation of services regulated under Chapter 21, Credit Services
   Organizations Act.


 Credits
 Laws 1990, c. 154, § 4; Laws 1991, c. 60, § 1; Laws 1993, c. 37, § 3; Laws 1994, c. 189, § 3; Laws 1995, c. 26, § 2, eff.
 May 1, 1995; Laws 1996, c. 170, § 2, eff. July 1, 1996; Laws 2014, c. 189, § 54, eff. May 13, 2014; Laws 2017, c. 98, § 8,
 eff. May 9, 2017.


 U.C.A. 1953 § 13-26-4, UT ST § 13-26-4
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                                                       U.C.A. 1953 § 13-26-5

                                     § 13-26-5. Right of rescission--Cancellation

                                                            Currentness


 (1)(a) Except as provided in Subsections (1)(b) and (c), in addition to any right to otherwise revoke an offer, a person making
 a purchase from a telephone soliciting business required to be registered under this chapter may cancel the sale up to midnight
 of the third business day after the receipt of the merchandise or premium, whichever is later, provided the solicitor advises the
 purchaser of his cancellation rights under this chapter at the time any solicitation is made.


   (b) If the solicitor required to be registered under this chapter fails to orally advise a purchaser of the right to cancel under
   this section at the time of any solicitation, the purchaser's right to cancel shall be extended to 90 days.


   (c) If the solicitor required to be registered under this chapter fails to orally advise a purchaser of his true name, telephone
   number, and complete street address at the time of any solicitation, the purchaser may cancel the sale at any time.


 (2) Sales shall be cancelled by mailing a notice of cancellation to the telephone solicitor's correct street address, postage prepaid.
 If the telephone solicitor provided no correct street address, cancellation can be accomplished by sending a notice of cancellation
 to the division's offices, postage prepaid.


 (3)(a) If a cancellation involves durable goods, as defined by rule, those goods shall be returned to the seller.


   (b) If expendable goods are involved, the purchaser shall return any unused portion of those goods.


   (c) A reasonable attempt shall be made to return goods to the solicitor's correct street address within seven days of exercising
   the right to cancel, providing the solicitor has provided the purchaser with the address. If the solicitor has failed to give a
   correct address, no return is required to qualify for a full refund of the purchase price.


   (d) If the purchaser has used any portion of the services or goods purchased, the solicitor or telephone soliciting business
   shall receive a reasonable allowance for value given. This allowance may be deducted from any refund due the purchaser.


   (e) A solicitor shall be jointly and severally liable with the telephone soliciting business for any refund amount due following
   the cancellation of a sale made by the solicitor.


 (4) For the purposes of this section, “business day” does not include Sunday or a federal or state holiday.



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 Credits
 Laws 1990, c. 154, § 5; Laws 1994, c. 189, § 4.


 U.C.A. 1953 § 13-26-5, UT ST § 13-26-5
 Current through 2021 First Special Session.

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 §§ 13-26-6, 13-26-7. Repealed by Laws 1994, c. 189, § 7, eff...., UT ST § 13-26-6
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                                               U.C.A. 1953 § 13-26-6

                §§ 13-26-6, 13-26-7. Repealed by Laws 1994, c. 189, § 7, eff. May 2, 1994

                                                   Currentness


 U.C.A. 1953 § 13-26-6, UT ST § 13-26-6
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 §§ 13-26-6, 13-26-7. Repealed by Laws 1994, c. 189, § 7, eff...., UT ST § 13-26-7
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                                               U.C.A. 1953 § 13-26-7

                §§ 13-26-6, 13-26-7. Repealed by Laws 1994, c. 189, § 7, eff. May 2, 1994

                                                   Currentness


 U.C.A. 1953 § 13-26-7, UT ST § 13-26-7
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 § 13-26-8. Penalties, UT ST § 13-26-8
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                                                       U.C.A. 1953 § 13-26-8

                                                      § 13-26-8. Penalties

                                                             Currentness


 (1)(a) Any telephone soliciting business or any person associated with a telephone soliciting business, including solicitors,
 salespersons, agents, representatives of a solicitor, or independent contractor, who violates this chapter as a first offense is guilty
 of a class B misdemeanor.


   (b) In the case of a second offense, the person is guilty of a class A misdemeanor.


   (c) In the case of three or more offenses, the person is guilty of a third degree felony.


   (d)(i) In addition to other penalties under this Subsection (1), the division director may issue a cease and desist order and
   impose an administrative fine of up to $2,500 for each violation of this chapter.


      (ii) For purposes of Subsection (1)(d)(i), each telephone solicitation made in violation of this chapter is a separate violation.


      (iii) All money received through administrative fines imposed under this section shall be deposited in the Consumer
      Protection Education and Training Fund created by Section 13-2-8.


 (2) Any telephone soliciting business or any person associated with a telephone soliciting business, including solicitors,
 salespersons, agents, representatives of a solicitor, or independent contractors, who violates any provision of this chapter shall
 be subject to a civil penalty in a court of competent jurisdiction not exceeding $2,500 for each unlawful transaction.


 Credits
 Laws 1990, c. 154, § 8; Laws 1993, c. 37, § 4; Laws 1994, c. 189, § 5; Laws 1995, c. 26, § 3, eff. May 1, 1995; Laws 2005,
 c. 18, § 15, eff. March 8, 2005; Laws 2013, c. 124, § 9, eff. May 14, 2013.


 U.C.A. 1953 § 13-26-8, UT ST § 13-26-8
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 § 13-26-9. Repealed by Laws 1994, c. 189, § 7, eff. May 2, 1994, UT ST § 13-26-9
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                                               U.C.A. 1953 § 13-26-9

                      § 13-26-9. Repealed by Laws 1994, c. 189, § 7, eff. May 2, 1994

                                                   Currentness


 U.C.A. 1953 § 13-26-9, UT ST § 13-26-9
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                                                      U.C.A. 1953 § 13-26-10

                                   § 13-26-10. Provisions of chapter not exclusive

                                                            Currentness


 The remedies, duties, prohibitions, and penalties of this chapter are not exclusive and are in addition to all other causes of action,
 remedies, and penalties provided by law.


 Credits
 Laws 1991, c. 184, § 2.



 Notes of Decisions (5)

 U.C.A. 1953 § 13-26-10, UT ST § 13-26-10
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                                                     U.C.A. 1953 § 13-26-11

                                             § 13-26-11. Prohibited practices

                                                             Currentness


 (1) It is unlawful for any solicitor:


   (a) to solicit a prospective purchaser on behalf of a telephone soliciting business that is not registered with the division or
   exempt from registration under this chapter;


   (b) to use a fictitious personal name in connection with a telephone solicitation;


   (c) to make or cause to be made any untrue material statement, or fail to disclose a material fact necessary to make any
   statement made not misleading, whether in connection with a telephone solicitation or a filing with the division;


   (d) to make or authorize the making of any misrepresentation about its compliance with this chapter to any prospective or
   actual purchaser;


   (e) to fail to refund within 30 days any amount due a purchaser who exercises the right to cancel under Section 13-26-5; or


   (f) to fail to orally advise a purchaser of the purchaser's right to cancel under Section 13-26-5 unless the solicitor is exempt
   under Section 13-26-4.


 (2) It is unlawful for any telephone soliciting business:


   (a) to cause or permit any solicitor to violate any provision of this chapter; or


   (b) to use inmates in telephone soliciting operations where inmates have access to personal data about an individual sufficient
   to physically locate or contact that individual, such as names, addresses, telephone numbers, Social Security numbers, credit
   card information, or physical descriptions.


 Credits
 Laws 1994, c. 189, § 6; Laws 1998, c. 77, § 3, eff. May 4, 1998; Laws 2005, c. 18, § 16, eff. March 8, 2005; Laws 2013, c.
 124, § 10, eff. May 14, 2013.



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 § 13-26-12. Consumer complaints are public, UT ST § 13-26-12
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                                                     U.C.A. 1953 § 13-26-12

                                   § 13-26-12. Consumer complaints are public

                                                           Currentness


 (1) As used in this section, “consumer complaint” means a complaint that:


   (a) is filed with the division by a consumer or business;


   (b) alleges facts relating to conduct that the division regulates under this chapter; and


   (c)(i) alleges a loss to the consumer or business of $3,500 or more; or


      (ii) is one of at least 50 other complaints against the same person filed by other consumers or businesses during the four
      years immediately preceding the filing of the complaint.


 (2) For purposes of determining the number of complaints against the same person under Subsection (1)(c)(ii), the division
 may consider complaints filed against multiple corporations, limited liability companies, partnerships, or other business entities
 under common ownership to be complaints against the same person.


 (3) Notwithstanding Subsection 13-11-7(2) and subject to Subsections (4) and (5), a consumer complaint:


   (a) is a public record; and


   (b) may not be classified as a private, controlled, or protected record under Title 63G, Chapter 2, Government Records Access
   and Management Act.


 (4) Subsection (3) does not apply to a consumer complaint:


   (a)(i) if the division determines through an administrative proceeding that the consumer complaint is nonmeritorious; and


      (ii) beginning when the nonmeritorious determination is made; or




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   (b) that has been on file with the division for more than four years.


 (5) Before making a consumer complaint that is subject to Subsection (3) or a response described in Subsection (6) available
 to the public, the division:


   (a) shall redact from the consumer complaint or response any information that would disclose the address, Social Security
   number, bank account information, email address, or telephone number of the consumer or business; and


   (b) may redact the name of the consumer or business and any other information that could, in the division's judgment, disclose
   the identity of the consumer or business filing the consumer complaint.


 (6) A person's initial, written response to a consumer complaint that is subject to Subsection (2) is a public record.


 Credits
 Laws 2015, c. 335, § 2, eff. May 12, 2015.


 U.C.A. 1953 § 13-26-12, UT ST § 13-26-12
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      § 13–15–3. Administration and Enforcement—Powers—Legal Counsel—Fees—Consumer
      Complaints
      § 13–15–4. Information to be Filed by Seller Annually—Representations—Fees
      § 13–15–4.5. Notice of Exemption Filing
      § 13–15–5. Disclosure Statement Furnished to Buyer—Contents
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                                                  U.C.A. 1953 § 13-15-1

                                                 § 13-15-1. Short title

                                                       Currentness


 This act shall be known and may be cited as the “Business Opportunity Disclosure Act.”


 Credits
 Laws 1981, c. 69, § 1.


 U.C.A. 1953 § 13-15-1, UT ST § 13-15-1
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                                                      U.C.A. 1953 § 13-15-2

                                                   § 13-15-2. Definitions

                                                           Currentness


 As used in this chapter:


 (1)(a) “Assisted marketing plan” means the sale or lease of any products, equipment, supplies, or services that are sold to the
 purchaser upon payment of an initial required consideration of $500 or more for the purpose of enabling the purchaser to start
 a business, and in which the seller represents:


      (i) that the seller will provide locations or assist the purchaser in finding locations for the use or operation of vending
      machines, racks, display cases, or other similar devices, or currency operated amusement machines or devices, on premises
      neither owned nor leased by the purchaser or seller;


      (ii) that the seller will purchase any or all products made, produced, fabricated, grown, or modified by the purchaser, using
      in whole or in part the supplies, services, or chattels sold to the purchaser;


      (iii) that the seller will provide the purchaser with a guarantee that the purchaser will receive income from the assisted
      marketing plan that exceeds the price paid for the assisted marketing plan, or repurchase any of the products, equipment,
      supplies, or chattels supplied by the seller if the purchaser is dissatisfied with the assisted marketing plan; or


      (iv) that upon payment by the purchaser of a fee or sum of money, which exceeds $500 to the seller, the seller will provide
      a sales program or marketing program that will enable the purchaser to derive income from the assisted marketing plan
      that exceeds the price paid for the marketing plan.


   (b) “Assisted marketing plan” does not include:


      (i) the sale of an ongoing business when the owner of that business sells and intends to sell only that one assisted marketing
      plan;


      (ii) not-for-profit sale of sales demonstration equipment, materials, or samples for a total price of $500 or less; or


      (iii) the sale of a package franchise or a product franchise defined by and in compliance with Federal Trade Commission
      rules governing franchise and business opportunity ventures.



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   (c) As used in Subsection (1)(a)(iii) “guarantee” means a written agreement, signed by the purchaser and seller, disclosing
   the complete details and any limitations or exceptions of the agreement.


 (2) “Business opportunity” means an assisted marketing plan subject to this chapter.


 (3) “Division” means the Division of Consumer Protection of the Department of Commerce.


 (4)(a) “Initial required consideration” means the total amount a purchaser is obligated to pay under the terms of the assisted
 marketing plan, either prior to or at the time of delivery of the products, equipment, supplies, or services, or within six months
 of the commencement of operation of the assisted marketing plan by the purchaser. If payment is over a period of time, “initial
 required consideration” means the sum of the down payment and the total monthly payments.


   (b) “Initial required consideration” does not mean the not-for-profit sale of sales demonstration equipment, materials, or
   supplies for a total price of less than $500.


 (5) “Person” means any natural person, corporation, partnership, organization, association, trust, or any other legal entity.


 (6) “Purchaser” means a person who becomes obligated to pay for an assisted marketing plan.


 (7) “Registered trademark” or “service mark” means a trademark, trade name, or service mark registered with the United States
 Patent and Trademark Office, or Utah, or the state of incorporation if a corporation.


 (8) “Seller” means a person who sells or offers to sell an assisted marketing plan.


 Credits
 Laws 1981, c. 69, § 1; Laws 1983, c. 58, § 10; Laws 1986, c. 130, § 1; Laws 1989, c. 225, § 7; Laws 1995, c. 85, § 1, eff. May
 1, 1995; Laws 2001, c. 196, § 2, eff. April 30, 2001; Laws 2012, c. 152, § 3, eff. May 8, 2012.



 Notes of Decisions (4)

 U.C.A. 1953 § 13-15-2, UT ST § 13-15-2
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                                                      U.C.A. 1953 § 13-15-3

                                 § 13-15-3. Administration and enforcement--
                               Powers--Legal counsel--Fees--Consumer complaints

                                                            Currentness


 (1) The division shall administer and enforce this chapter. In the exercise of its responsibilities, the division shall enjoy the
 powers, and be subject to the constraints, set forth in Title 13, Chapter 2, Division of Consumer Protection.


 (2) The attorney general, upon request, shall give legal advice to, and act as counsel for, the division in the exercise of its
 responsibilities under this chapter.


 (3) All fees collected under this chapter shall be deposited in the Commerce Service Account created by Section 13-1-2.


 (4)(a) As used in this Subsection (4), “consumer complaint” means a complaint that:


      (i) is filed with the division by a consumer or business;


      (ii) alleges facts relating to conduct that the division regulates under this chapter; and


      (iii)(A) alleges a loss to the consumer or business of $3,500 or more; or


        (B) is one of at least 50 other complaints against the same person filed by other consumers or businesses during the four
        years immediately preceding the filing of the complaint.


   (b) For purposes of determining the number of complaints against the same person under Subsection (4)(a)(iii)(B), the division
   may consider complaints filed against multiple corporations, limited liability companies, partnerships, or other business
   entities under common ownership to be complaints against the same person.


   (c) Notwithstanding Subsection 13-11-7(2) and subject to Subsections (4)(d) and (e), a consumer complaint:


      (i) is a public record; and




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     (ii) may not be classified as a private, controlled, or protected record under Title 63G, Chapter 2, Government Records
     Access and Management Act.


   (d) Subsection (4)(c) does not apply to a consumer complaint:


     (i)(A) if the division determines through an administrative proceeding that the consumer complaint is nonmeritorious; and


        (B) beginning when the nonmeritorious determination is made; or


     (ii) that has been on file with the division for more than four years.


   (e) Before making a consumer complaint that is subject to Subsection (4)(c) or a response described in Subsection (4)(f)
   available to the public, the division:


     (i) shall redact from the consumer complaint or response any information that would disclose the address, Social Security
     number, bank account information, email address, or telephone number of the consumer or business; and


     (ii) may redact the name of the consumer or business and any other information that could, in the division's judgment,
     disclose the identity of the consumer or business filing the consumer complaint.


   (f) A person's initial, written response to a consumer complaint that is subject to Subsection (4)(c) is a public record.


 Credits
 Laws 1981, c. 69, § 1; Laws 1983, c. 58, § 11; Laws 1995, c. 85, § 2, eff. May 1, 1995; Laws 2010, c. 278, § 12, eff. May 11,
 2010; Laws 2015, c. 335, § 1, eff. May 12, 2015.


 U.C.A. 1953 § 13-15-3, UT ST § 13-15-3
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                                                      U.C.A. 1953 § 13-15-4

              § 13-15-4. Information to be filed by seller annually--Representations--Fees

                                                            Currentness


 (1) A seller of an assisted marketing plan shall annually file the following information with the division:


   (a) the name, address, and principal place of business of the seller, and the name, address, and principal place of business of
   the parent or holding company of the seller, if any, who is responsible for statements made by the seller;


   (b) the trademarks, trade names, service marks, or advertising or other commercial symbols that identify the products,
   equipment, supplies, or services to be offered, sold, or distributed by the prospective purchaser;


   (c) an individual detailed statement covering the past five years of the business experience of each of the seller's current
   directors and executive officers and an individual statement covering the same period for the seller and the seller's parent
   company, if any, including the length of time each:


      (i) has conducted a business of the type advertised or solicited for operation by a prospective purchaser;


      (ii) has offered or sold the assisted marketing plan; and


      (iii) has offered for sale or sold assisted marketing plans in other lines of business, together with a description of the other
      lines of business;


   (d)(i) a statement of the total amount that shall be paid by the purchaser to obtain or commence the business opportunity such
   as initial fees, deposits, down payments, prepaid rent, and equipment and inventory purchases; and


      (ii) if all or part of the fees or deposits described in Subsection (1)(d)(i) are returnable, the conditions under which the
      fees or deposits are returnable;


   (e) a complete statement of the actual services the seller will perform for the purchaser;


   (f) a complete statement of the oral, written, or visual representations that will be made to prospective purchasers about
   specific levels of potential sales, income, gross and net profits, or any other representations that suggest a specific level;



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   (g) a complete description of the type and length of any training promised to prospective purchasers;


   (h)(i) a complete description of any services promised to be performed by the seller in connection with the placement of the
   equipment, products, or supplies at any location from which they will be sold or used; and


     (ii) a complete description of the services described in Subsection (1)(h)(i) together with any agreements that will be made
     by the seller with the owner or manager of the location where the purchaser's equipment, products, or supplies will be
     placed;


   (i) a statement that discloses any person identified in Subsection (1)(a) who:


     (i) has been convicted of a felony or misdemeanor or pleaded nolo contendere to a felony or misdemeanor charge if the
     felony or misdemeanor involved fraud, embezzlement, fraudulent conversion, or misappropriation of property;


     (ii) has been held liable or consented to the entry of a stipulated judgment in a civil action based upon fraud, embezzlement,
     fraudulent conversion, misappropriation of property, or the use of untrue or misleading representations in the sale or
     attempted sale of any real or personal property, or upon the use of any unfair, unlawful or deceptive business practice; or


     (iii) is subject to an injunction or restrictive order relating to business activity as the result of an action brought by a public
     agency;


   (j) a financial statement that is less than 13 months old of the seller signed by one of the seller's officers, directors, trustees,
   or general or limited partners, under a declaration that certifies that to the signatory's knowledge and belief the information
   in the financial statement is true and accurate;


   (k) a copy of the entire marketing plan contract;


   (l) the number of marketing plans sold to date, and the number of plans under negotiation;


   (m) geographical information, including the states in which the seller's assisted marketing plans have been sold, and the
   number of plans in each state;


   (n) the total number of marketing plans that were cancelled by the seller in the past 12 months; and


   (o) the number of marketing plans that were voluntarily terminated by purchasers within the past 12 months and the total
   number of such voluntary terminations to date.


 (2) The seller of an assisted marketing plan filing information under Subsection (1) shall pay an annual fee as determined by
 the department in accordance with Section 63J-1-504 when the seller files the information required under Subsection (1).



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 (3)(a) Before commencing business in this state, a seller of an assisted marketing plan shall file the information required under
 Subsection (1) and receive from the division proof of receipt of the filing.


   (b) A seller shall annually comply with Subsections (1) and (2) by no later than the anniversary of the day on which the seller
   receives from the division proof of receipt of the filing.


 (4) A seller of an assisted marketing plan claiming an exemption from filing under this chapter shall file a notice of claim of
 exemption from filing with the division. A seller claiming an exemption from filing bears the burden of proving the exemption.
 The division shall collect a fee for filing a notice of claim of exemption, as determined by the department in accordance with
 Section 63J-1-504.


 (5) A representation described in Subsection (1)(f) shall be relevant to the geographic market in which the business opportunity
 is to be located. When the statements or representations are made, a warning after the representation in not less than 12 point
 upper and lower case boldface type shall appear as follows:

 “CAUTION

   No guarantee of earnings or ranges of earnings can be made. The number of purchasers who have earned through this business
   an amount in excess of the amount of their initial payment is at least _____ which represents _____% of the total number
   of purchasers of this business opportunity.”


 Credits
 Laws 1981, c. 69, § 1; Laws 1983, c. 58, § 12; Laws 1995, c. 85, § 3, eff. May 1, 1995; Laws 2008, c. 382, § 135, eff. May
 5, 2008; Laws 2009, c. 183, § 14, eff. May 12, 2009; Laws 2010, c. 378, § 208, eff. May 11, 2010; Laws 2017, c. 98, § 3,
 eff. May 9, 2017.



 Notes of Decisions (13)

 U.C.A. 1953 § 13-15-4, UT ST § 13-15-4
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                                                       U.C.A. 1953 § 13-15-4.5

                                          § 13-15-4.5. Notice of exemption filing

                                                              Currentness


 (1)(a) Any franchise exempt from this chapter pursuant to Subsection 13-15-2(1)(b)(iii) shall, prior to offering for sale or
 selling a franchise to be located in this state or to a resident of this state, file with the division a notice that the franchisor is in
 substantial compliance with the requirements of the Federal Trade Commission rule found at Title 16, Chapter I, Subchapter d,
 Trade Regulation Rules, Part 436, Disclosure Requirements and Prohibitions Concerning Franchising and Business Opportunity
 Ventures, together with a filing fee determined by the department pursuant to Section 63J-1-504, not to exceed $100.


   (b) The notice shall state:


      (i) the name of the applicant;


      (ii) the name of the franchise;


      (iii) the name under which the applicant intends to or does transact business, if different than the name of the franchise;


      (iv) the applicant's principal business address; and


      (v) the applicant's federal employer identification number.


 (2)(a) The initial exemption granted under this section is for a period of one year from the date of filing the notice.


   (b) The exemption may be renewed each year for an additional one-year period upon filing a notice for renewal and paying
   a renewal fee determined pursuant to Section 63J-1-504, not to exceed $100.


 (3) The division may make rules to implement this section.


 Credits
 Laws 1995, c. 85, § 4, eff. May 1, 1995; Laws 2008, c. 382, § 136, eff. May 5, 2008; Laws 2009, c. 183, § 15, eff. May 12, 2009.


 U.C.A. 1953 § 13-15-4.5, UT ST § 13-15-4.5


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                                                     U.C.A. 1953 § 13-15-5

                          § 13-15-5. Disclosure statement furnished to buyer--Contents

                                                           Currentness


 All the information required under Section 13-15-4 shall be contained in a single disclosure statement or prospectus which shall
 be provided to any prospective purchaser at least 10 business days prior to the earlier of:


 (1) the execution by prospective purchaser of any agreement imposing a binding legal obligation on such prospective purchaser
 by which the seller knows or should know, in connection with the sale or proposed sale of the “assisted marketing plan”; or


 (2) the payment by a prospective purchaser, by which the seller knows or should know of any consideration in connection with
 the sale or proposed sale of the “assisted market plan.” The disclosure statement or prospectus may not contain any material or
 information other than that required under Section 13-15-4. However, the seller may give prospective purchasers nondeceptive
 information other than that contained in the disclosure statement or prospectus if it does not contradict the information required
 to appear in the disclosure statement or prospectus. A cover sheet attached to the disclosure statement or prospectus shall
 conspicuously state the name of the seller, the date of issuance of the disclosure statement or prospectus, and a notice printed
 in not less than 12 point upper and lower case boldface type as follows:

 INFORMATION FOR PURCHASE OF A MARKETING PLAN:

 To protect you, the State Division of Consumer Protection has required your seller to give you this information. The State
 Division of Consumer Protection has not verified this information as to its accuracy. The notice may contain additional
 precautions deemed necessary and pertinent. The seller, in lieu of the information requested by Section 13-15-4, may file with
 the commission and provide to prospective purchasers certified disclosure documents authorized for use by the Federal Trade
 Commission pursuant to Title 16, Chapter I, Subchapter d, Trade Regulation Rules, Part 436, “Disclosure Requirements and
 Prohibitions Concerning Franchising and Business Opportunity Ventures.”


 Credits
 Laws 1981, c. 69, § 1; Laws 1983, c. 58, § 13; Laws 1987, c. 92, § 25; Laws 2010, c. 378, § 209, eff. May 11, 2010.



 Notes of Decisions (6)

 U.C.A. 1953 § 13-15-5, UT ST § 13-15-5
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                                                         U.C.A. 1953 § 13-15-6

            § 13-15-6. Failure to file disclosures--Relief where seller fails to comply with
        chapter--Relief where division granted judgment or injunction--Administrative fines

                                                              Currentness


 (1) If a seller fails to file the disclosures required under Section 13-15-4, or fails after demand by the division to file the disclosure
 within 15 days, the division, consistent with Section 13-2-5, shall begin adjudicative proceedings and shall issue a cease and
 desist order.


 (2) Any purchaser of a business opportunity from a seller who does not comply with this chapter is entitled, in an appropriate
 court of competent jurisdiction, to rescission of the contract, to an award of a reasonable attorney's fee and costs of court in an
 action to enforce the right of rescission, and to the amount of actual damages or $2,000, whichever is greater.


 (3) In the event the division is granted judgment or injunctive relief in an appropriate court of competent jurisdiction, the
 division, in addition to any other relief, is entitled to an award of reasonable attorney's fees, costs of court, and investigative fees.


 (4)(a) In addition to other penalties under this chapter, and to its other enforcement powers under Title 13, Chapter 2, Division of
 Consumer Protection, the division director may impose an administrative fine of up to $2,500 for each violation of this chapter.


   (b) All money received through administrative fines imposed under this section shall be deposited in the Consumer Protection
   Education and Training Fund created by Section 13-2-8.


 Credits
 Laws 1981, c. 69, § 1; Laws 1983, c. 58, § 14; Laws 1986, c. 130, § 2; Laws 1987, c. 161, § 31; Laws 1995, c. 85, § 5, eff.
 May 1, 1995; Laws 2006, c. 47, § 1, eff. March 10, 2006.



 Notes of Decisions (2)

 U.C.A. 1953 § 13-15-6, UT ST § 13-15-6
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                                                     U.C.A. 1953 § 13-15-7

                        § 13-15-7. Civil penalty for violation of cease and desist order

                                                          Currentness


 Any person who violates any cease and desist order issued under this chapter is subject to a civil penalty not to exceed $5,000
 for each violation. Civil penalties authorized by this chapter may be imposed in any civil action brought by the attorney general
 or by a county attorney under this section. All penalties received shall be deposited in the Consumer Protection Education and
 Training Fund created in Section 13-2-8. No action to collect a civil penalty may be commenced more than five years after
 the date the penalty was imposed.


 Credits
 Laws 1983, c. 58, § 15; Laws 1995, c. 85, § 6, eff. May 1, 1995.


 U.C.A. 1953 § 13-15-7, UT ST § 13-15-7
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